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              EXHIBIT CH
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17

18                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19

20     GOOGLE LLC,                                      Case No. 3:20-cv-6754

21                       Plaintiff,                     SONOS, INC.’S SUPPLEMENTAL
                                                        DISCLOSURE OF ASSERTED CLAIMS
22            v.                                        AND INFRINGEMENT
                                                        CONTENTIONS
23     SONOS, INC.,
                                                        Honorable William Alsup
24                       Defendant.

25

26

27

28
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 1            Pursuant to Patent Local Rules 3-1 and 3-2 and the Court’s instructions during the January
 2     6, 2022 motion hearing, Plaintiff Sonos, Inc. (“Sonos”) hereby submits this Supplemental
 3     Disclosure of Asserted Claims and Infringement Contentions for U.S. Patent Nos. 9,967,615 (the
 4     “’615 Patent”), 10,779,033 (the “’033 Patent”), 10,469,966 (the “’966 Patent”), and 10,848,885
 5     (“the ’885 Patent”) (collectively, “the Asserted Patents”).
 6            Sonos bases these contentions on its current knowledge, understanding, and belief as to
 7     the facts and information available as of the date of these contentions. Sonos has not yet
 8     completed its investigation, collection of information, discovery, or analysis relating to this
 9     action, and additional discovery, including discovery from Google and third parties, may lead
10     Sonos to further amend, revise, and/or supplement these contentions. Indeed, the accused
11     functionalities of the accused instrumentalities are implemented, at least in part, by proprietary
12     and specialized electronics, firmware, and/or software, and the precise designs, processes, and
13     algorithms used to perform the accused functionalities are held secret, at least in part, and are not
14     publicly available in their entirety. As such, an analysis of non-publicly-available documentation
15     and source code, including that of Google and/or third-parties, such as Spotify, may be necessary
16     to fully and accurately describe every infringing functionality.
17            However, merits discovery in this action has barely begun and, as of the date of service of
18     these contentions, is not scheduled to close until November 30, 2022. To date, Google has not
19     produced documents responsive to Sonos’s outstanding document requests, no depositions have
20     been taken, and third-party discovery remains outstanding including document and deposition
21     subpoenas to Spotify.
22            Likewise, Google’s interrogatory responses are woefully deficient in many respects and
23     completely non-responsive in others. As a non-limiting example, in response to Sonos’s
24     interrogatories asking Google to explain certain discrete aspects of how Google’s own products
25     work, Google responded only by referring Sonos to Google’s entire source code production
26     (without referring to any particular code modules, functions, methods, line numbers, or even
27     directories) and by block citing over 48,000 pages of Google’s document production. As another
28     non-limiting example, in response to Sonos’s interrogatory asking how the Accused Cast-Enabled
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       1                          SUPPLEMENTAL DISCLOSURES
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 1     Apps are made available for download, Google refused to respond at all. Without the benefit of
 2     discovery responses from Google, Sonos’s inspection of Google’s source code is ongoing. Given
 3     that fact discovery is in its infancy and Google served its (deficient) discovery responses on
 4     September 7, 2021 and has refused to engage with Sonos about when it will adequately
 5     supplement its responses, Sonos has not had an opportunity to confer with Google on these
 6     responses or approach the Court for intervention, if necessary.
 7            For at least these reasons, Sonos specifically reserves the right to further amend, revise
 8     and/or supplement these contentions and/or accompanying exhibits in accordance with any
 9     Orders of record in this matter, Patent L.R. 3-6, and Federal Rule of Civil Procedure 26(e), as
10     additional documents and information become available and as discovery and investigation
11     proceed. Sonos also reserves the right to supplement, modify or amend these contentions to
12     include additional products or services made, used, sold, or offered for sale in or imported into the
13     United States by Google.
14            The information in these contentions is not an admission regarding the scope of any
15     claims or the proper construction of those claims or any terms contained therein. Google has not
16     indicated whether it intends to advance in this case any construction of any claim pursuant to L.R.
17     4-2. In the event Google advances any constructions under L.R. 4-2 pursuant to the Court’s Case
18     Management Scheduling Order (Dkt. 67), Sonos reserves the right to revise or supplement these
19     contentions to address such a construction. See Dkt. 67, ¶ 17.
20     I.     Disclosure of Asserted Claims & Infringement Contentions
21            A.      Identification of Accused Instrumentalities Pursuant to Patent L.R. 3-1(b)
22            Based on the information currently in its possession, Sonos contends that the Asserted
23     Patents are infringed by Google via, either individually or in combination, the following products
24     (individually, “Accused Instrumentality” or collectively, “Accused Instrumentalities”):
25            ’615 and ’033 Patents: (a) Smartphone, tablet, and computer devices, including Google’s
26     own “Pixel” smartphone, tablet, and computer devices (e.g., the Pixel, Pixel XL, Pixel 2, Pixel 2
27     XL, Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, Pixel 4a, Pixel 4a (5G), Pixel
28     5, Pixel 5a (5G), Pixel 6, and Pixel 6 Pro phones, the Pixel Slate tablet, and the Pixelbook and
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       2                         SUPPLEMENTAL DISCLOSURES
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 1     Pixelbook Go laptops), as well as third-party smartphone, tablet, and computer devices, that are
 2     (i) installed with any of Google’s own Cast-enabled Android, iOS, Chrome or browser-based
 3     apps that allow a user to transfer playback of streaming media content from the user’s
 4     smartphone, tablet, or computer devices to a Cast-enabled media player and then control the Cast-
 5     enabled media player’s playback, including but not limited to the YouTube app, YouTube Kids
 6     app, YouTube TV app, YouTube Music app, and Google Play Music app, accessed via either an
 7     app store or Chromecsat-enabled site URL1 (including youtube.com, music.youtube.com,
 8     tv.youtube.com, and spotify.com) and/or (ii) installed with any third-party Cast-enabled app that
 9     allows a user to transfer playback of streaming media content from the user’s smartphone, tablet,
10     or computer devices to a Cast-enabled media player and then control the Cast-enabled media
11     player’s playback, including but not limited to the Spotify app2 (the foregoing, including
12     Chromecast-enabled websites, are referred to herein either individually or collectively as the
13     “accused Cast-enabled apps”)3; (b) Cast-enabled media players having a display screen and
14     installed with Cast-enabled software (e.g., firmware and/or Cast-enabled apps) that allows a user
15     to transfer playback of streaming media content from the Cast-enabled media player to another
16     Cast-enabled media player and then control the other Cast-enabled media player’s playback,
17     including Google’s Home Hub, Nest Hub, and Nest Hub Max media players (referred to herein as
18     “Cast-enabled displays”); (c) Servers that host at least one of the accused Cast-enabled apps for
19     download onto or access by smartphone, tablet, or computer devices; and (d) Cloud-based
20     1
           See, e.g., https://support.google.com/chromecast/answer/3265953?hl=en.
21     2
        See, e.g., https://support.google.com/chromecastbuiltin/answer/6279384?hl=en#zippy=%2Cbefore-you-
       begin-casting%2Ccast-from-chromecast-enabled-apps-to-your-audio-device%2Cfind-new-content-to-cast;
22     https://www.google.com/chromecast/built-in/apps/.
       3
23       Although Sonos is not currently aware of which third-party smartphone, tablet, and computer devices
       were, between May 2018 to present, actually installed with one or more accused Cast-enabled apps, and
24     awaits production of this information from Google, in the spirit of providing as much disclosure as
       possible given Google’s request, and in an effort to address the Court’s guidance during the January 6,
25     2022 hearing, attached hereto as Appendix 1 is a list of possible third-party smartphone, tablet, and
       computer devices that may have been used to download and install one or more accused Cast-enabled apps
26     between May 2018 to present. Although efforts have been made to compile as accurate and as complete a
       list as possible, it may be the case that some of the devices listed in Appendix 1 were not used to download
27     and install any accused Cast-enabled apps between May 2018 to present and/or it may be the case that
       other devices were used to download and install one or more accused Cast-enabled apps between May
28     2018 to present. Given this, Sonos reserves the right to revise or supplement this as discovery progresses.
                                                                                    SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                          3                           SUPPLEMENTAL DISCLOSURES
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 1     infrastructure hosting backend software that facilitates the aforementioned Cast functionality for
 2     transferring playback of streaming media content to a Cast-enabled media player and/or
 3     controlling the Cast-enabled media player’s playback.
 4            ’966 Patent: (a) Smartphone, tablet, and computer devices, including Google’s own
 5     “Pixel” smartphone, tablet, and computer devices (e.g., the Pixel, Pixel XL, Pixel 2, Pixel 2 XL,
 6     Pixel 3, Pixel 3XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, Pixel 4a, Pixel 4a (5G), Pixel 5,
 7     Pixel 5a (5G), Pixel 6, and Pixel 6 Pro phones, the Pixel Slate tablet, and the Pixelbook and
 8     Pixelbook Go laptops), as well as third-party smartphone, tablet, or computer devices, that are
 9     installed with the Google Home app4; and (b) Servers that host the Google Home app for
10     download onto smartphone, tablet, or computer devices.
11            ’885 Patent: “Cast-enabled media players,” including Google’s Chromecast,
12     Chromecast Ultra, Chromecast Audio, Chromecast with Google TV, Home Mini, Nest Mini,
13     Home, Home Max, Home Hub, Nest Hub, Nest Hub Max, Nest Audio, and Nest Wifi Point
14     media players.
15            B.        Identification of Asserted Claims Pursuant to Patent L.R. 3-1(a)
16            Based on the information currently in its possession, Sonos asserts the following claims
17     (collectively, the “Asserted Claims”) literally and/or under the Doctrine of Equivalents. Sonos
18     expressly reserves the right to amend and/or supplement its identification of Asserted Claims
19     should discovery (including Google’s technical documentation, source code, and witnesses)
20     reveal additional, relevant information.
                            U.S. Patent No.                 Asserted Claims
21
                                9,967,615       1-3, 6-9, 11-15, 18-21, 23-26, 28-29
22                             10,779,033       1-2, 4, 7-13, 15-16
                               10,469,966       1-4, 6-12, 14-20
23                             10,848,885       1-3, 5-10, 12-17, 19-20
24                      i.     Direct Infringement Under 35 U.S.C. § 271(a)
25            ’615 and ’033 Patents: Sonos contends that each smartphone, tablet, and computer device
26     installed with any one or more of the accused Cast-enabled apps (referred to herein as a “Cast-
27
       4
        See supra note 3. The devices listed in Appendix 1 may have also been used to download and install the
28     Google Home app between November 2019 to present.
                                                                                 SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        4                          SUPPLEMENTAL DISCLOSURES
                                                                                                   20-CV-6754
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 1     enabled computing device”), as well as each Cast-enabled display, infringes the asserted claims
 2     of the ’615 and ’033 Patents. Thus, Google has directly infringed and continues to directly
 3     infringe each asserted claim of the ’615 and ’033 Patents at least by offering to sell, selling,
 4     and/or importing into the United States its “Pixel” brand of Cast-enabled computing devices, as
 5     well as its Cast-enabled displays, in violation of 35 U.S.C. § 271(a).
 6               Further, on information and belief, Google has directly infringed and continues to directly
 7     infringe claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4, 7-13 of the ‘033
 8     Patent by virtue of installing one or more of the accused Cast-enabled apps onto Cast-enabled
 9     computing devices and installing Cast-enabled software (e.g., firmware updates and/or Cast-
10     enabled apps) onto Cast-enabled displays within the United States, which constitutes “mak[ing]”
11     an infringing device under 35 U.S.C. § 271(a).
12               Further yet, on information and belief, Google has directly infringed and continues to
13     directly infringe each asserted claim of the ’615 and ’033 Patents by virtue of testing Cast-
14     enabled computing devices and testing Cast-enabled displays within the United States, which
15     constitutes “us[ing]” an infringing device under 35 U.S.C. § 271(a).
16               Still further, on information and belief, Google operates servers in the United States that
17     host Cast-enabled apps for download onto Cast-enabled computing devices and/or Cast-enabled
18     software (e.g., firmware and/or Cast-enabled apps) for download onto Cast-enabled displays, and
19     these servers infringe certain asserted claims of the ’615 and ’033 Patents (e.g., claims 13-15, 18-
20     21, and 23-24 of the ’615 Patent and claims 12-13 of the ’033 Patent). Thus, Google has also
21     directly infringed and continues to directly infringe certain asserted claims of the ’615 and ’033
22     Patents by “mak[ing]” and/or “us[ing]” servers that host this software in violation of 35 U.S.C. §
23     271(a).
24               ’966 Patent: Sonos contends that each computing device installed with at least the Google
25     Home app infringes every asserted claim of the ’966 Patent. Thus, Google has directly infringed
26     and continues to directly infringe each asserted claim of the ’966 Patent at least by offering to
27     sell, selling, and/or importing into the United States its “Pixel” brand of computing devices that
28     are installed with the Google Home app.
                                                                                 SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                         5                         SUPPLEMENTAL DISCLOSURES
                                                                                                   20-CV-6754
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 1            Further, on information and belief, Google has directly infringed and continues to directly
 2     infringe claims 1-4, 6-12, 14-16 of the ’966 Patent by virtue of installing at least the Google
 3     Home app onto computing devices, which constitutes “mak[ing]” an infringing device under 35
 4     U.S.C. § 271(a).
 5            Further yet, on information and belief, Google has directly infringed and continues to
 6     directly infringe each asserted claim of the ’966 Patent by virtue of testing computing devices
 7     installed with at least the Google Home app, which constitutes “us[ing]” an infringing device
 8     under 35 U.S.C. § 271(a).
 9            Still further, on information and belief, Google operates servers in the United States that
10     host at least the Google Home app for download onto smartphone, tablet, and computer devices,
11     and these servers infringe certain asserted claims of the ’966 Patent (e.g., claims 9-12 and 14-16).
12     Thus, Google has also directly infringed and continues to directly infringe certain asserted claims
13     of the ’966 Patent at least by “mak[ing]” and/or “us[ing]” servers that host at least the Google
14     Home app in violation of 35 U.S.C. § 271(a).
15            ’885 Patent: Sonos contends that each Cast-enabled media player infringes every asserted
16     claim of the ’885 Patent. Thus, Google has directly infringed and continues to directly infringe
17     each asserted claim of the ’885 Patent at least by offering to sell, selling, and/or importing into the
18     United States Cast-enabled media players.
19            Further, on information and belief, Google has directly infringed and continues to directly
20     infringe claims 1-3, 5-10, 12-14 of the ’885 Patent by virtue of installing software (e.g., firmware
21     updates) onto Cast-enabled media players, which constitutes “mak[ing]” an infringing device
22     under 35 U.S.C. § 271(a).
23            Further yet, on information and belief, Google has directly infringed and continues to
24     directly infringe each asserted claim of the ’885 Patent by virtue of using Cast-enabled media
25     players, which constitutes “us[ing]” an infringing device under 35 U.S.C. § 271(a).
26                    ii.     Induced Infringement Under 35 U.S.C. § 271(b)
27            Pursuant to 35 U.S.C. § 271(b), Google also actively, knowingly, and intentionally
28     induced (and continues to actively, knowingly, and intentionally induce) others to make, use,
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        6                         SUPPLEMENTAL DISCLOSURES
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 1     offer to sell, sell, and/or import the Accused Instrumentalities into the United States. As noted in
 2     Sonos’s Amended Complaint, Google had actual knowledge of the Asserted Patents prior to the
 3     filing of the Complaint. See also Google LLC’s Objections and Responses to Sonos’s Inc.’s First
 4     Set of Interrogatories (Nos. 1-20) (dated September 7, 2021) at Google’s response to Sonos’s
 5     Interrogatory No. 1; Sonos, Inc.’s Objections and Responses to Google LLC’s First Set of
 6     Interrogatories (Nos. 1-20) (dated September 7, 2021) at Sonos’s response to Google’s
 7     Interrogatory No. 14, both of which are herein incorporated by reference.
 8            ’615 and ’033 Patents: Sonos contends that each Cast-enabled computing device, as well
 9     as each Cast-enabled display, infringes every asserted claim of the ’615 and ’033 Patents. Despite
10     knowing of the ’615 and ’033 Patents, Google has actively, knowingly, and intentionally induced
11     (and continues to actively, knowingly, and intentionally induce) others to directly infringe the
12     asserted claims in various ways, in violation of 35 U.S.C. § 271(b).
13            For example, through Google’s website, advertising and promotional material, user
14     guides, and/or the Google Play Store, Google has actively, knowingly, and intentionally
15     encouraged and induced (and continues to actively, knowingly, and intentionally encourage and
16     induce) others to install one or more of the accused Cast-enabled apps (including Google’s own
17     Cast-enabled apps and third-party Cast-enabled apps, such as Spotify) onto computing devices,
18     and thereby “make[]” an infringing device, which constitutes direct infringement of claims 13-15,
19     18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4, 7-13 of the ‘033 Patent under 35 U.S.C.
20     § 271(a).
21            As another example, through Google’s website, advertising and promotional material, user
22     guides, and Cast-enabled apps, Google has actively, knowingly, and intentionally encouraged and
23     induced (and continues to actively, knowingly, and intentionally encourage and induce) others to
24     install Cast-enabled software (e.g., firmware updates and/or Cast-enabled apps) onto the Cast-
25     enabled displays, and thereby “make[]” an infringing device, which constitutes direct
26     infringement of claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4, 7-13 of
27     the ‘033 Patent under 35 U.S.C. § 271(a).
28
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       7                         SUPPLEMENTAL DISCLOSURES
                                                                                                 20-CV-6754
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 1            As yet another example, through Google’s website, advertising and promotional material,
 2     user guides, and/or the Google Play Store, Google has actively, knowingly, and intentionally
 3     encouraged and induced (and continues to actively, knowingly, and intentionally encourage and
 4     induce) others to “use” Cast-enabled computing devices installed with one or more of the accused
 5     Cast-enabled apps (including Google’s own Cast-enabled apps and third-party Cast-enabled apps,
 6     such as Spotify) and “use” Cast-enabled displays, which constitutes direct infringement of the
 7     asserted claims of the ’615 and ’033 Patents under 35 U.S.C. § 271(a).
 8            As a further example, Google has actively, knowingly, and intentionally encouraged and
 9     induced (and continues to actively, knowingly, and intentionally encourage and induce)
10     distributors and retailers to “offer[] to sell” and “sell[]” Cast-enabled computing devices installed
11     with one or more of the accused Cast-enabled apps, as well as Cast-enabled displays, which
12     constitutes direct infringement of the asserted claims of the ’615 and ’033 Patents under 35
13     U.S.C. § 271(a).
14            As still another example, by making, importing, offering to sell, and selling Cast-enabled
15     media players programmed with software that facilitates the accused Cast functionality in the
16     accused Cast-enabled apps and Cast-enabled software for transferring playback of streaming
17     media content from a Cast-enabled computing device or Cast-enabled display to a Cast-enabled
18     media player and then controlling the Cast-enabled media player’s playback via the Cast-enabled
19     computing device or Cast-enabled display, Google has actively, knowingly, and intentionally
20     induced (and continues to actively, knowingly, and intentionally induce) others to “mak[e]” and
21     “use” Cast-enabled computing devices and Cast-enabled displays, which constitutes direct
22     infringement of the asserted claims of the ’615 and ’033 Patents under 35 U.S.C. § 271(a).
23            As still a further example, for certain of the accused Cast-enabled apps (including
24     Google’s own Cast-enabled apps and third-party apps, such as Spotify), the backend software that
25     facilitates the accused Cast functionality for transferring playback of streaming media content
26     from a Cast-enabled computing device or Cast-enabled display to a Cast-enabled media player
27     and then controlling the Cast-enabled media player’s playback via the Cast-enabled computing
28     device or Cast-enabled display is hosted by Google on Cloud-based infrastructure that is owned
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       8                         SUPPLEMENTAL DISCLOSURES
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 1     and/or operated by Google (sometimes referred to as Google Cloud Platform or “GCP” for short),
 2     and by virtue of hosting this backend software, Google has actively, knowingly, and intentionally
 3     induced (and continues to actively, knowingly, and intentionally induce) others to “mak[e]” and
 4     “use” Cast-enabled computing devices and Cast-enabled displays, which constitutes direct
 5     infringement of the asserted claims of the ’615 and ’033 Patents under 35 U.S.C. § 271(a).
 6            As another example, through its relationship and collaboration with third parties, such as
 7     Spotify, that develop and release third-party Cast-enabled apps having the accused Cast
 8     functionality for transferring playback of streaming media content from a Cast-enabled
 9     computing device or Cast-enabled display to a Cast-enabled media player and then controlling the
10     Cast-enabled media player’s playback via the Cast-enabled computing device or Cast-enabled
11     display, Google has actively, knowingly, and intentionally induced (and continues to actively,
12     knowingly, and intentionally induce) such third parties to “make[]” and “use[]” Cast-enabled
13     computing devices and Cast-enabled displays, which constitutes direct infringement of the
14     asserted claims of the ’615 and ’033 Patents under 35 U.S.C. § 271(a).
15            Along with its actual knowledge of the ’615 and ’033 Patents, Google also knew (or
16     should have known) that its actions would induce others to directly infringe the asserted claims of
17     the ’615 and ’033 Patents. For example, Google has supplied and continues to supply from the
18     United States its own Cast-enabled apps to users in the United States and abroad and encourages
19     installation and use of such Cast-enabled apps in the United States and abroad while knowing that
20     the installation and use of Google’s Cast-enabled apps will infringe the asserted claims of the
21     ’615 and ’033 Patents. As another example, Google has supplied and continues to supply from the
22     United States its Cast technology for incorporation into third-party Cast-enabled apps (such as
23     Spotify) and encourages installation and use of such third-party Cast-enabled apps while knowing
24     that the installation and use of these third-party Cast-enabled apps will infringe the asserted
25     claims of the ’615 and ’033 Patents. As yet another example, Google has supplied and continues
26     to supply Cast-enabled displays (and software for the Cast-enabled displays) to users and
27     encourages installation and use of Cast-enabled software on the Cast-enabled displays while
28     knowing that such installation and use will infringe the asserted claims of the ’615 and ’033
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       9                          SUPPLEMENTAL DISCLOSURES
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 1     Patents. As still another example, for certain of the accused Cast-enabled apps (including
 2     Google’s own Cast-enabled apps and third-party apps, such as Spotify), Google has hosted and
 3     continues to host backend software that facilitates the accused Cast functionality on Cloud-based
 4     infrastructure that is owned and/or operated by Google while knowing that installation and use of
 5     such Cast-enabled apps will infringe the asserted claims of the ’615 and ’033 Patents.
 6               ’966 Patent: Sonos contends that each computing device installed with at least the Google
 7     Home app infringes every asserted claim of the ’966 Patent. Despite knowing of the ’966 Patent,
 8     Google has actively, knowingly, and intentionally induced (and continues to actively, knowingly,
 9     and intentionally induce) others to directly infringe the asserted claims by actively encouraging
10     others to make, use, offer to sell, sell, and/or import the aforementioned devices into the United
11     States in violation of 35 U.S.C. § 271(b).
12               For example, through Google’s website, advertising and promotional material, user
13     guides, and/or the Google Play Store, and via audible or visual instructions emitted from or
14     displayed on the Cast-enabled media players, Cast-enabled computing devices, and/or Cast-
15     enabled displays, Google has actively, knowingly, and intentionally encouraged and induced (and
16     continues to actively, knowingly, and intentionally encourage and induce) others to install the
17     Google Home app onto computing devices, and thereby “make[]” an infringing device, which
18     constitutes direct infringement of claims 1-4, 6-12, 14-16 of the ’966 Patent under 35 U.S.C. §
19     271(a).
20               As another example, through Google’s website, advertising and promotional material, user
21     guides, and/or the Google Play Store, and via audible or visual instructions emitted from or
22     displayed on the Cast-enabled media players, Cast-enabled computing devices, and/or Cast-
23     enabled displays, Google has actively, knowingly, and intentionally encouraged and induced (and
24     continues to actively, knowingly, and intentionally encourage and induce) others to “use”
25     computing devices installed with the Google Home app, which constitutes direct infringement of
26     the asserted claims of the ’966 Patent under 35 U.S.C. § 271(a).
27               As yet another example, Google has actively, knowingly, and intentionally encouraged
28     and (and continues to actively, knowingly, and intentionally encourage and induce) distributors
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       10                        SUPPLEMENTAL DISCLOSURES
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 1     and retailers to “offer[] to sell” and “sell[]” computing devices installed with at least the Google
 2     Home app, which constitutes direct infringement of the asserted claims of the ’966 Patent under
 3     35 U.S.C. § 271(a).
 4               As still another example, by making, importing, offering to sell, and selling Cast-enabled
 5     media players that require users to install the Google Home app in order to set up and configure
 6     the Cast-enabled media players and Cast-enabled displays, Google has actively, knowingly, and
 7     intentionally induced (and continues to actively, knowingly, and intentionally induce) others to
 8     “mak[e]” and “use” computing devices installed with the Google Home app, which constitutes
 9     direct infringement of the asserted claims of the ’966 Patent under 35 U.S.C. § 271(a).
10               Along with its actual knowledge of the ’966 Patent, Google also knew (or should have
11     known) that its actions would induce others to directly infringe the asserted claims of the ’966
12     Patent. For example, Google has supplied and continues to supply from the United States the
13     Google Home app to users in the United States and abroad while knowing that the download and
14     installation of this app will infringe the asserted claims of the ’966 Patent.
15               ’885 Patent: Sonos contends that each Cast-enabled media player infringes every asserted
16     claim of the ’885 Patent. Despite knowing of the ’885 Patent, Google has actively, knowingly,
17     and intentionally induced (and continues to actively, knowingly, and intentionally induce) others
18     to directly infringe the asserted claims by actively encouraging others to make, use, offer to sell,
19     sell, and/or import Cast-enabled media players into the United States in violation of 35 U.S.C. §
20     271(b).
21               For example, through Google’s website, advertising and promotional material, user
22     guides, the Google Home app (among other apps offered by Google), and/or the Google Play
23     Store, Google has actively, knowingly, and intentionally encouraged and induced (and continues
24     to actively, knowingly, and intentionally encourage and induce) others to install firmware updates
25     onto Cast-enabled media players, and thereby “make[]” an infringing device, which constitutes
26     direct infringement of claims 1-3, 5-10, 12-14 of the ’885 Patent under 35 U.S.C. § 271(a).
27               As another example, through Google’s website, advertising and promotional material, user
28     guides, the Google Home app (among other apps offered by Google), and/or the Google Play
                                                                                 SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        11                         SUPPLEMENTAL DISCLOSURES
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 1     Store, Google has actively, knowingly, and intentionally encouraged and induced (and continues
 2     to actively, knowingly, and intentionally encourage and induce) others to “use” Cast-enabled
 3     media players, which constitutes direct infringement of the asserted claims of the ’885 Patent
 4     under 35 U.S.C. § 271(a).
 5            As yet another example, Google has actively, knowingly, and intentionally induced (and
 6     continues to actively, knowingly, and intentionally induce) distributors and retailers to “offer[] to
 7     sell” and “sell[]” Cast-enabled media players, which constitutes direct infringement of the
 8     asserted claims of the ’885 Patent under 35 U.S.C. § 271(a).
 9            Along with its actual knowledge of the ’885 Patent, Google also knew (or should have
10     known) that its actions would induce others to directly infringe the asserted claims of the ’885
11     Patent. For instance, Google has supplied and continues to supply Cast-enabled media players (as
12     well as firmware updates) to users while knowing that the use of Cast-enabled media players will
13     infringe the asserted claims of the ’885 Patent.
14                    iii.    Contributory Infringement Under 35 U.S.C. § 271(c)
15            Pursuant to 35 U.S.C. § 271(c), Google has also contributorily infringed (and continues to
16     contributorily infringe) the asserted claims of the Asserted Patents by supplying software
17     components in the United Sates to be installed and/or used by users of the Accused
18     Instrumentalities – each of which is a material component of the Accused Instrumentalities that
19     has no substantial noninfringing use – with knowledge that the software components were
20     especially made or adapted for use in an Accused Instrumentality such that the installation and/or
21     use of the software components would result in direct infringement. As noted in Sonos’s
22     Amended Complaint, Google had actual knowledge of the Asserted Patents prior to the filing of
23     the Complaint. See also Google LLC’s Objections and Responses to Sonos’s Inc.’s First Set of
24     Interrogatories (Nos. 1-20) (dated September 7, 2021) at Google’s response to Sonos’s
25     Interrogatory No. 1; Sonos, Inc.’s Objections and Responses to Google LLC’s First Set of
26     Interrogatories (Nos. 1-20) (dated September 7, 2021) at Sonos’s response to Google’s
27     Interrogatory No. 14, both of which are herein incorporated by reference.
28
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       12                         SUPPLEMENTAL DISCLOSURES
                                                                                                  20-CV-6754
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 1            ’615 and ’033 Patents: Google has contributorily infringed (and continues to
 2     contributorily infringe) the asserted claims of the ’615 and ’033 Patents by virtue of the fact that
 3     (i) in addition to importing and selling certain Cast-enabled computing devices that come pre-
 4     installed with one or more of the accused Cast-enabled apps, Google supplies software
 5     components for performing the accused Cast functionality as part of Google’s own Cast-enabled
 6     apps for installation onto Cast-enabled computing devices in the United States and also as part of
 7     Google’s own Cast-enabled software (e.g., firmware and/or Cast-enabled apps) for installation
 8     onto Cast-enabled displays in the United States, and each time a user installs these software
 9     components, the user “makes” an infringing device and thereby directly infringes the asserted
10     claims of the ’615 and ’033 Patents under 35 U.S.C. § 271(a), and (ii) on information and belief,
11     Google additionally supplies software components for performing the accused Cast functionality
12     to third parties (such as Spotify) that incorporate such software code into third-party Cast-enabled
13     apps for installation onto Cast-enabled computing devices and/or Cast-enabled displays in the
14     United States, and each time a user installs these software components, the user “makes” an
15     infringing device.
16            The software components for performing the accused Cast functionality are material
17     components of infringing devices that are not staple articles or commodities of commerce suitable
18     for substantial noninfringing use because the only possible use for these software components is
19     to be installed and run on infringing Cast-enabled computing devices and Cast-enabled displays.
20            Along with its actual knowledge of the ’615 and ’033 Patents, Google knew (or should
21     have known) that the software components for performing the accused Cast functionality were
22     especially made or adapted for installation on infringing devices, and that installation of these
23     software components by others resulted in (and continues to result in) direct infringement of the
24     ’615 and ’033 Patents under 35 U.S.C. § 271(a) because each such installation “makes” a device
25     that meets every element of claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2,
26     4, 7-13 of the ‘033 Patent .
27            Moreover, as a result of Google’s contributory conduct, others have directly infringed the
28     asserted claims of the ’615 and ’033 Patents. For example, users have installed the supplied
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       13                         SUPPLEMENTAL DISCLOSURES
                                                                                                  20-CV-6754
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 1     software components for performing the accused Cast functionality (which are included in
 2     Google’s own Cast-enabled apps, as well as third-party apps, such as Spotify) onto Cast-enabled
 3     computing devices in the United States, thereby “making” infringing devices. As another
 4     example, users have installed the supplied software components for performing the accused Cast
 5     functionality (which are included in firmware, as well as Cast-enabled apps) onto Cast-enabled
 6     displays in the United States, thereby “making” updated Cast-enabled displays that are infringing
 7     devices. As yet another example, after installing the supplied software components for
 8     performing the accused Cast functionality onto Cast-enabled computing devices and Cast-enabled
 9     displays, users have used these infringing devices, which also constitutes direct infringement.
10            ’966 Patent: Google has contributorily infringed (and continues to contributorily infringe)
11     the asserted claims of the ‘966 Patent by virtue of the fact that it supplies software components
12     for performing the accused functionality as part of the Google Home app in the United States, and
13     each time a user installs the Google Home app onto a computing device, the user “makes” an
14     infringing device and thereby directly infringes the asserted claims of the ’966 Patent under 35
15     U.S.C. § 271(a). The software components included in the Google Home app are material
16     components of infringing devices that are not staple articles or commodities of commerce suitable
17     for substantial noninfringing use because the only possible use for these software components is
18     to be installed and run on infringing computing devices.
19            Along with its actual knowledge of the ’966 Patent, Google knew (or should have known)
20     that the software components included in the Google Home app were especially made or adapted
21     for installation on infringing devices, and that installation of these software components by others
22     resulted in (and continues to result in) direct infringement of the ’966 Patent under 35 U.S.C. §
23     271(a) because each such installation “makes” a device that meets every element of claims 1-4, 6-
24     12, 14-16 of the ’966 Patent .
25            Moreover, as a result of Google’s contributory conduct, others have directly infringed the
26     asserted claims of the ’966 Patent. For example, users have installed the supplied software
27     components included as part of the Google Home app onto computing devices in the United
28     States, thereby “making” infringing computing devices. As another example, after installing the
                                                                              SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                      14                        SUPPLEMENTAL DISCLOSURES
                                                                                                20-CV-6754
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 1     software components included as part of the Google Home app onto computing devices, users
 2     have used these infringing devices, which also constitutes direct infringement of the asserted
 3     claims.
 4               ’885 Patent: Google has contributorily infringed (and continues to contributorily infringe)
 5     the asserted claims of the ’885 Patent by virtue of the fact that, in addition to importing and
 6     selling Cast-enabled media players that come pre-installed with firmware, Google supplies
 7     software components for performing the accused functionality as part of firmware updates for
 8     Cast-enabled media players in the United States, and each time a user installs such a firmware
 9     update, the user “makes” an infringing device and thereby directly infringes claims 1-3, 5-10, 12-
10     14 of the ’885 Patent under 35 U.S.C. § 271(a). The software components included in the
11     firmware updates are material components of Cast-enabled media players that are not staple
12     articles or commodities of commerce suitable for substantial noninfringing use because the only
13     possible use for these software components is to be installed and run on Cast-enabled media
14     players.
15               Along with its actual knowledge of the ’885 Patent, Google knew (or should have known)
16     that the software components included in the firmware updates were especially made or adapted
17     for installation on Cast-enabled media players, and that installation of these software components
18     by others resulted in (and continues to result in) direct infringement of the ’885 Patent under 35
19     U.S.C. § 271(a) because each such installation “makes” an updated player that meets every
20     element claims 1-3, 5-10, 12-14 of the ’885 Patent.
21               Moreover, as a result of Google’s contributory conduct, others have directly infringed the
22     asserted claims of the ’885 Patent. For example, users have installed the supplied software
23     components included as part of the firmware updates onto Cast-enabled media players in the
24     United States, thereby “making” updated Cast-enabled media players, which constitutes direct
25     infringement. As another example, after installing the software components included as part of
26     the firmware updates onto Cast-enabled media players, users have used Cast-enabled media
27     players, which also constitutes direct infringement of the asserted claims.
28
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        15                        SUPPLEMENTAL DISCLOSURES
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 1                    iv.    Infringement Under 35 U.S.C. § 271(f)(1)
 2            Pursuant to 35 U.S.C. § 271(f)(1), Google has also infringed by supplying in or from the
 3     United States software and/or firmware components, which constitute substantial portions of the
 4     components of Sonos’s patented inventions, and actively, knowingly, and intentionally induced
 5     (and continues to actively, knowingly, and intentionally induce) others outside of the United
 6     States to combine these software and/or firmware components in a manner that, if such
 7     combination would have occurred in the United States (as it does pursuant to the theories set forth
 8     in § I.B.iii), infringes the asserted claims of the Asserted Patents. And these combinations by
 9     those outside of the United States do in fact occur. Accordingly, by supplying such software
10     and/or firmware components from the United States, Google is liable for infringement under 35
11     U.S.C. § 271(f)(1).
12            ’615 and ’033 Patents: Sonos contends that each Cast-enabled computing device, as well
13     as each Cast-enabled display, infringes every asserted claim of the ’615 and ’033 Patents. Despite
14     knowing of the ’615 and ’033 Patents, Google supplies software components for performing the
15     accused Cast functionality as part of Google’s own Cast-enabled apps for installation onto Cast-
16     enabled computing devices and also as part of Google’s own Cast-enabled software (e.g.,
17     firmware and/or Cast-enabled apps) for installation onto Cast-enabled displays. These software
18     and/or firmware components are at least substantial portions of the components of the patented
19     inventions of the ’615 and ’033 Patents. Google supplies these software and/or firmware
20     components from the United States to various entities outside the United States. Google then
21     induces those entities to combine the supplied components in a manner that would, if combined
22     within the United States, constitute infringement. Google has actively, knowingly, and
23     intentionally induced (and continues to actively, knowingly, and intentionally induce) these
24     entities to make such combinations outside the United States in various ways, in violation of 35
25     U.S.C. § 271(f)(1).
26            For example, through Google’s website, advertising and promotional material, user
27     guides, and/or the Google Play Store, Google has actively, knowingly, and intentionally
28     encouraged and induced (and continues to actively, knowingly, and intentionally encourage and
                                                                              SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                      16                        SUPPLEMENTAL DISCLOSURES
                                                                                                20-CV-6754
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 1     induce) others outside the United States to install one or more of the accused Cast-enabled apps
 2     (including Google’s own Cast-enabled apps and third-party Cast-enabled apps, such as Spotify)
 3     onto computing devices outside of the United States. If this combination were done within the
 4     United States, that act would constitute “mak[ing]” an infringing device, which constitutes direct
 5     infringement of claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4, 7-13 of
 6     the ‘033 Patent under 35 U.S.C. § 271(a).
 7            As another example, through Google’s website, advertising and promotional material, user
 8     guides, and Cast-enabled apps, Google has actively, knowingly, and intentionally encouraged and
 9     induced (and continues to actively, knowingly, and intentionally encourage and induce) others
10     outside the United States to install Cast-enabled software (e.g., firmware updates and/or Cast-
11     enabled apps) onto the Cast-enabled displays outside of the United States. If this combination
12     were done within the United States, that act would constitute “mak[ing]” an infringing device,
13     which constitutes direct infringement of claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and
14     claims 1-2, 4, 7-13 of the ‘033 Patent under 35 U.S.C. § 271(a).
15            As another example, through Google’s relationship with third-party manufacturers, third-
16     party distributers, or via an otherwise affiliated entity that acts in a manufacturer or distributor
17     role, Google actively, knowingly, and intentionally encourages and induces or instructs such
18     parties to install one or more of the accused Cast-enabled apps (including Google’s own Cast-
19     enabled apps and third-party Cast-enabled apps, such as Spotify) onto computing devices outside
20     of the United States. If this combination were done within the United States, that act would
21     constitute “mak[ing]” an infringing device, which constitutes direct infringement of claims 13-15,
22     18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4, 7-13 of the ‘033 Patent under 35 U.S.C.
23     § 271(a).
24            As another example, through Google’s relationship with third-party manufacturers, third-
25     party distributers, or via an otherwise affiliated entity that acts in a manufacturer or distributor
26     role, Google actively, knowingly, and intentionally encourages and induces or instructs such
27     parties to install Cast-enabled software (e.g., firmware updates and/or Cast-enabled apps) onto the
28     Cast-enabled displays outside of the United States. If this combination were done within the
                                                                                 SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        17                         SUPPLEMENTAL DISCLOSURES
                                                                                                   20-CV-6754
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 1     United States, that act would constitute “mak[ing]” an infringing device, which constitutes direct
 2     infringement of claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4, 7-13 of
 3     the ‘033 Patent under 35 U.S.C. § 271(a).
 4            As still another example, through Google’s relationship with entities (including affiliated
 5     entities) that operate servers outside of the United States that host Cast-enabled apps for
 6     download onto Cast-enabled computing devices and/or Cast-enabled software (e.g., firmware
 7     and/or Cast-enabled apps) for download onto Cast-enabled displays, Google actively, knowingly,
 8     and intentionally encourages and induces or instructs these entities to load, store, or otherwise
 9     provide the Cast-enabled apps and/or Cast-enabled software onto these servers. If this
10     combination were done within the United States, that act would constitute direct infringement of
11     certain asserted claims of the ’615 and ’033 Patents (e.g., claims 13-15, 18-21, and 23-24 of the
12     ’615 Patent and claims 12-13 of the ’033 Patent) by “mak[ing]” and/or “us[ing]” servers that host
13     such software in violation of 35 U.S.C. § 271(a).
14            As still another example, through its relationship and collaboration with third parties
15     outside the United States, such as Spotify, that develop and release third-party Cast-enabled apps
16     having the accused Cast functionality for transferring playback of streaming media content from a
17     Cast-enabled computing device or Cast-enabled display to a Cast-enabled media player and then
18     controlling the Cast-enabled media player’s playback via the Cast-enabled computing device or
19     Cast-enabled display, Google has provided software components to these third parties and then
20     actively, knowingly, and intentionally induced (and continues to actively, knowingly, and
21     intentionally induce) such third parties to incorporate these software components into apps and
22     products in a manner that if done within the United States, would constitute direct infringement of
23     certain asserted claims of the ’615 and ’033 Patents (e.g., claims 13-15, 18-21, 23-26, 28-29 of
24     the ‘615 Patent and claims 1-2, 4, 7-13 of the ‘033 Patent) by “mak[ing]” or “us[ing]” an
25     infringing device under 35 U.S.C. § 271(a).
26            ’966 Patent: Sonos contends that each computing device installed with at least the Google
27     Home app infringes every asserted claim of the ’966 Patent. Despite knowing of the ’966 Patent,
28     Google supplies the Google Home app from the United States to various entities outside the
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       18                        SUPPLEMENTAL DISCLOSURES
                                                                                                 20-CV-6754
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 1     United States. Google then induces those entities to combine the Google Home app in a manner
 2     that would, if combined within the United States, constitute infringement. Google has actively,
 3     knowingly, and intentionally induced (and continues to actively, knowingly, and intentionally
 4     induce) these entities to make such combinations outside the United States in various ways, in
 5     violation of 35 U.S.C. § 271(b).
 6            For example, through Google’s website, advertising and promotional material, user
 7     guides, and/or the Google Play Store, and via audible or visual instructions emitted from or
 8     displayed on the Cast-enabled media players and Cast-enabled displays, Google has actively,
 9     knowingly, and intentionally encouraged and induced (and continues to actively, knowingly, and
10     intentionally encourage and induce) others outside the United States to install the Google Home
11     app onto computing devices outside the United States. If this combination were done within the
12     United States, that act would constitute “mak[ing]” an infringing device, which constitutes direct
13     infringement of claims 1-4, 6-12, 14-16 of the ’966 Patent under 35 U.S.C. § 271(a).
14            As another example, through Google’s relationship with entities (including affiliated
15     entities) that operate servers outside of the United States that host the Google Home app for
16     download onto smartphone, tablet, and computer devices, Google actively, knowingly, and
17     intentionally encourages and induces or instructs these entities to load, store, or otherwise provide
18     the Google Home app onto these servers. If this combination were done within the United States,
19     that act would constitute direct infringement of certain asserted claims of the ’966 Patent (e.g.,
20     claims 9-12 and 14-16) by “mak[ing]” and/or “us[ing]” servers that host such software in
21     violation of 35 U.S.C. § 271(a).
22            ’885 Patent: Sonos contends that each Cast-enabled media player infringes every asserted
23     claim of the ’885 Patent. Despite knowing of the ’885 Patent, Google supplies from the United
24     States software components for performing the accused functionality as part of firmware updates
25     for Cast-enabled media players. Google then through Google’s website, advertising and
26     promotional material, user guides, the Google Home app (among other apps offered by Google),
27     and/or the Google Play Store, Google has actively, knowingly, and intentionally encouraged and
28     induced (and continues to actively, knowingly, and intentionally encourage and induce) others
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       19                        SUPPLEMENTAL DISCLOSURES
                                                                                                 20-CV-6754
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 1     outside the United States to install firmware updates onto Cast-enabled media players outside the
 2     United States. If this combination were done within the United States, that act would constitute
 3     “mak[ing]” or “us[ing]” an infringing device, which constitutes direct infringement of the
 4     asserted claims of the ‘885 Patent under 35 U.S.C. § 271(a).
 5             As another example, through Google’s relationship with third-party manufacturers, third-
 6     party distributers, or via an otherwise affiliated entity that acts in a manufacturer or distributor
 7     role, Google actively, knowingly, and intentionally encourages and induces or instructs such
 8     parties to, outside of the United States, install or load firmware onto Cast-enabled media players.
 9     If this combination were done within the United States, that act would constitute “mak[ing]” an
10     infringing device, which constitutes direct infringement of claims 1-3, 5-10, 12-14 of the ’885
11     Patent under 35 U.S.C. § 271(a).
12                     v.      Infringement Under 35 U.S.C. § 271(f)(2)
13             Pursuant to 35 U.S.C. § 271(f)(2), Google has also infringed by supplying software
14     components in or from the United Sates to be combined, installed, loaded, and/or used by others
15     outside of the United States, where these software components are components of the patented
16     inventions that have no substantial noninfringing use and are not staple articles or commodities of
17     commerce – with knowledge that these software components were especially made or adapted for
18     use and an intent that these software components would be combined, installed, loaded, and/or
19     used outside the United States such that, if such combination, installation, load, and/or use
20     occurred within the United States (as it does pursuant to the theories set forth in § I.B.iii), it
21     would infringe the asserted claims of the Asserted Patents. And these combinations by those
22     outside of the United States do in fact occur. Accordingly, by supplying such software
23     components in or from the United States, Google is liable for infringement under 35 U.S.C. §
24     271(f)(2).
25             ’615 and ’033 Patents: Sonos contends that each Cast-enabled computing device, as well
26     as each Cast-enabled display, infringes every asserted claim of the ’615 and ’033 Patents.
27     Despite knowing of the ’615 and ’033 Patents, Google supplies software components for
28     performing the accused Cast functionality as part of Google’s own Cast-enabled apps for
                                                                                  SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        20                          SUPPLEMENTAL DISCLOSURES
                                                                                                    20-CV-6754
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 1     installation onto Cast-enabled computing devices outside the United States and also as part of
 2     Google’s own Cast-enabled software (e.g., firmware and/or Cast-enabled apps) for installation
 3     onto Cast-enabled displays outside the United States. Google intends that others outside the
 4     United States, including users, install these software components onto computing devices and
 5     Cast-enabled displays and knows that such installation does in fact occur and that such
 6     installation, if occurring in the United States, would constitute “mak[ing]” an infringing device
 7     thereby directly infringing claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4,
 8     7-13 of the ‘033 Patent under 35 U.S.C. § 271(a).
 9            Despite knowing of the ’615 and ’033 Patents, Google additionally supplies software
10     components for performing the accused Cast functionality to third parties (such as Spotify) that
11     incorporate such software code into third-party Cast-enabled apps for installation onto Cast-
12     enabled computing devices and/or Cast-enabled displays outside of the United States. Google
13     intends that these third parties (such as Spotify) incorporate such software code into third-party
14     Cast-enabled apps for installation onto Cast-enabled computing devices and/or Cast-enabled
15     displays outside of the United States and knows that such incorporation does in fact occur and
16     that such incorporation, if occurring in the United States, would constitute “mak[ing]” an
17     infringing device thereby directly infringing claims 13-15, 18-21, 23-26, 28-29 of the ‘615 Patent
18     and claims 1-2, 4, 7-13 of the ‘033 Patent under 35 U.S.C. § 271(a).
19            As another example, Google supplies software components for performing the accused
20     Cast functionality to third-party manufacturers, third-party distributers, or to an otherwise
21     affiliated entity that acts in a manufacturer or distributor role, who then, outside of the United
22     States installs these software components onto computing devices outside of the United States.
23     Google intends that these parties install these software components onto computing devices
24     outside of the United States. If this combination were done within the United States, that act
25     would constitute “mak[ing]” an infringing device, which constitutes direct infringement of claims
26     13-15, 18-21, 23-26, 28-29 of the ‘615 Patent and claims 1-2, 4, 7-13 of the ‘033 Patent under 35
27     U.S.C. § 271(a).
28
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       21                         SUPPLEMENTAL DISCLOSURES
                                                                                                  20-CV-6754
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 1             As another example, Google supplies software components for performing the accused
 2     Cast functionality to entities (including affiliated entities) that operate servers outside of the
 3     United States that host Cast-enabled apps for download onto Cast-enabled computing devices
 4     and/or Cast-enabled software (e.g., firmware and/or Cast-enabled apps) for download onto Cast-
 5     enabled displays. Google intends that these entities load, store, or otherwise provide the Cast-
 6     enabled apps and/or Cast-enabled software onto these servers. If this combination were done
 7     within the United States, that act would constitute direct infringement of certain asserted claims
 8     of the ’615 and ’033 Patents (e.g., claims 13-15, 18-21, and 23-24 of the ’615 Patent and claims
 9     12-13 of the ’033 Patent) by “mak[ing]” and/or “us[ing]” servers that host such software in
10     violation of 35 U.S.C. § 271(a).
11             Google knows the foregoing software components for performing the accused Cast
12     functionality are material components of infringing devices and the patented inventions that are
13     not staple articles or commodities of commerce suitable for substantial noninfringing use because
14     the only possible use for these software components is to be loaded, installed, and/or run on
15     infringing Cast-enabled computing devices and Cast-enabled displays.
16             ’966 Patent: Sonos contends that each computing device installed with at least the Google
17     Home app infringes every asserted claim of the ’966 Patent. Despite knowing of the’966 Patent,
18     Google supplies software components for performing the accused functionality as part of the
19     Google Home app in or from the United States to various entities outside the United States.
20     Google knows and intends for those entities to combine the software components in a manner that
21     would, if combined within the United States, constitute infringement because each combination
22     or installation of the Google Home app onto a computing device would constitute “mak[ing]” an
23     infringing device and thus directly infringe claims 1-4, 6-12, 14-16 of the ’966 Patent under 35
24     U.S.C. § 271(a).
25             Google knows that the software components included in the Google Home app are
26     material components of infringing devices that are not staple articles or commodities of
27     commerce suitable for substantial noninfringing use because the only possible use for these
28     software components is to be installed and run on infringing computing devices.
                                                                                  SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        22                          SUPPLEMENTAL DISCLOSURES
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 1            Along with its actual knowledge of the ’966 Patent, Google knew (or should have known)
 2     that the software components included in the Google Home app were especially made or adapted
 3     for installation on infringing devices, and that installation of these software components by others
 4     outside of the United States would, if done within the United States, constitute (and continues to
 5     result in) direct infringement of the ’966 Patent under 35 U.S.C. § 271(a) because each such
 6     installation “makes” a device that meets every element of every asserted claims.
 7            Moreover, as a result of Google providing software components of the Google Home app,
 8     others have outside of the United States combined the Google Home app in a manner that, if done
 9     within the United States, would constitute direct infringement of the asserted claims of the ‘966
10     Patent. For example, others outside the United States have installed the Google Home app onto
11     computing devices outside the United States. If this combination were done within the United
12     States, that act would constitute “mak[ing]” an infringing device, which constitutes direct
13     infringement of claims 1-4, 6-12, 14-16 of the ’966 Patent under 35 U.S.C. § 271(a).
14            As another example, Google supplies software components of the Google Home app to
15     entities (including affiliated entities) that operate servers outside of the United States that host the
16     Google Home app for download onto smartphone, tablet, and computer devices. Google intends
17     that these entities load, store, or otherwise provide the Google Home app onto these servers. If
18     this combination were done within the United States, that act would constitute direct infringement
19     of certain asserted claims of the ’966 Patent (e.g., claims 9-12 and 14-16) by “mak[ing]” and/or
20     “us[ing]” servers that host such software in violation of 35 U.S.C. § 271(a).
21            ’885 Patent: Sonos contends that each Cast-enabled media player infringes every asserted
22     claim of the ’885 Patent. Despite knowing of the ’885 Patent, Google supplies in or from the
23     United States software components for performing the accused functionality as part of firmware
24     updates for Cast-enabled media players, and users install such a firmware update outside of the
25     United States in a manner that, if done within the United States, would constitute “mak[ing]” an
26     infringing device and thereby directly infringe claims 1-3, 5-10, 12-14 of the ’885 Patent under 35
27     U.S.C. § 271(a). The software components included in the firmware updates are material
28     components of the patented invention that are not staple articles or commodities of commerce
                                                                                 SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                        23                         SUPPLEMENTAL DISCLOSURES
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 1     suitable for substantial noninfringing use because the only possible use for these software
 2     components is to be installed and run on Cast-enabled media players, which constitute infringing
 3     devices.
 4               Along with its actual knowledge of the ’885 Patent, Google knew (or should have known)
 5     that the software components included in the firmware updates were especially made or adapted
 6     for installation on Cast-enabled media players, and that installation of these software components
 7     by others outside the United States would, if done within the United States, have resulted in (and
 8     continues to result in) direct infringement of the ’885 Patent under 35 U.S.C. § 271(a) because
 9     each such installation “makes” an updated player that meets every element of every asserted
10     claims.
11               Moreover, as a result of Google providing such firmware updates others have outside of
12     the United States combined the firmware updates in a manner that, if done within the United
13     States, would constitute direct infringement of claims 1-3, 5-10, 12-14 of the ’885 Patent . For
14     example, users have, outside of the United States, installed the supplied software components
15     included as part of the firmware updates onto Cast-enabled media players outside the United
16     States, which if done within the United States would constitute “making” updated Cast-enabled
17     media players, which constitutes direct infringement.
18               As another example, Google provides firmware to manufacturers, third-party distributers,
19     or an otherwise affiliated entity that acts in a manufacturer or distributor role, who then, outside
20     of the United States installs or loads such firmware onto Cast-enabled media players. If this
21     combination were done within the United States, that act would constitute “mak[ing]” an
22     infringing device, which constitutes direct infringement of claims 1-3, 5-10, 12-14 of the ’885
23     Patent under 35 U.S.C. § 271(a).
24               C.     Infringement Claim Charts Pursuant to Patent L.R. 3-1(c)
25               Based on the information currently in its possession, Sonos provides the following
26     exhibits attached hereto, which specify where each limitation of each asserted claim is found
27     within each Accused Instrumentality (whether literally or under the Doctrine of Equivalents):
28               Exhibit A: Infringement of ’615 Patent
                                                                                SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                          24                      SUPPLEMENTAL DISCLOSURES
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 1            Exhibit B: Infringement of ’033 Patent
 2            Exhibit C: Infringement of ’966 Patent
 3            Exhibit D: Infringement of ’885 Patent
 4            Sonos has not yet been provided with full discovery of Google’s products, including non-
 5     public documentation sufficiently describing the Accused Instrumentalities, sufficient written
 6     discovery responses from Google, and testimony from Google’s witnesses. Thus, Sonos
 7     expressly reserves its right to amend and/or supplement these assertions or to asserted additional
 8     claims for infringement under Patent L.R. 3-6 as discovery in this case progresses or as otherwise
 9     permitted by the Court.
10            D.      Identification of Indirect Infringement Pursuant to Patent L.R. 3-1(d)
11            Based on the information currently in its possession, Sonos contends that Google is liable
12     for indirect infringement of each of the Asserted Claims under 35 U.S.C. §§ 271(b), (c), and (f).
13     Sonos has identified the acts of direct infringement and provided a description of Google’s own
14     acts that contribute to and induce such direct infringement above (§§ I.B.ii-v), as well as in
15     Sonos’s Amended Complaint, which is herein incorporated by reference in its entirety.
16            E.      Identification of Types of Infringement Pursuant to Patent L.R. 3-1(e)
17            Based on the information currently in its possession, Sonos contends that each limitation
18     of each Asserted Claim is literally met by the Accused Instrumentalities. To date, Google has not
19     set forth any interpretation of any claim limitation or any non-infringement position that
20     circumvents literal infringement of the Asserted Claims. To the extent that Google offers any
21     such interpretation or non-infringement position, Sonos expressly reserves the right to supplement
22     its infringement contentions, such as with applicable contentions under the Doctrine of
23     Equivalents.
24            F.      Identification of Priority Dates Pursuant to Patent L.R. 3-1(f)
25            Sonos contends that: (a) each Asserted Claim of the ’615 Patent is entitled to a priority
26     date no later than December 30, 2011; (b) each Asserted Claim of the ’033 Patent is entitled to a
27     priority date no later than December 30, 2011; (c) each Asserted Claim of the ’966 Patent is
28
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                       25                        SUPPLEMENTAL DISCLOSURES
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 1     entitled to a priority date no later than September 12, 2006; and (d) each Asserted Claim of the
 2     ’885 Patent is entitled to a priority date no later than September 12, 2006.
 3            G.      Identification of Practicing Instrumentalities Pursuant to Patent L.R. 3-1(g)
 4            Pursuant to L.R. 3-1(g), Sonos states that the following Sonos products practice one or
 5     more claims of the ‘885 Patent: CONNECT:AMP, CONNECT, PLAY:3, PLAYBAR, PLAY:1,
 6     PLAY:5 (gen 2), PLAYBASE, ONE, BEAM, AMP, SYMFONISK (Bookshelf), SYMFONISK
 7     (Table Lamp), ONE SL, PORT, MOVE, ARC, FIVE, ROAM.
 8            Sonos further states that a computing device (e.g., smartphone, tablet, etc.) or other
 9     computer-readable medium (CRM) provisioned with Sonos’s “S2” controller app, which was
10     launched June 8, 2020, practice the claimed inventions of the ’966 Patent.
11            Although Sonos is not aware of any Sonos product that practices the claimed inventions of
12     the ‘615 and ‘033 Patents and thus no response is required by L.R. 3-1(g), Sonos states that a
13     computing device (e.g., smartphone, tablet, etc.) or other CRM provisioned with certain third-
14     party streaming-media apps that are Sonos “Direct Control” enabled, such as the Spotify app,
15     practice the claimed inventions of the ’615 and ’033 Patents.
16            H.      Identification of First Infringement & Damages Period Pursuant to Patent
17                    L.R. 3-1(h)
18            Based on the information currently in its possession, Sonos contends that Google’s
19     infringement of the Asserted Patents began at least as early as the dates set forth below. To
20     Sonos’s knowledge, Google’s infringement remains ongoing and the damages period likewise
21     remains ongoing.
                U.S. Patent No.        Date of First Infringement & Start of Damages Period
22
                   9,967,615          At least as early as May 8, 2018
23                10,779,033          At least as early as September 15, 2020
                  10,469,966          At least as early as November 5, 2019
24                10,848,885          At least as early as November 24, 2020
25            Discovery is ongoing and Sonos has sought information that is in Google’s possession,
26     custody, or control, regarding designs of the Accused Instrumentalities and the timing of each
27     design. Sonos reserves the right to supplement its Infringement Contentions based on Google’s
28     proper discovery responses. Sonos further reserves its right to amend and/or modify its
                                                                               SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                      26                         SUPPLEMENTAL DISCLOSURES
                                                                                                 20-CV-6754
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 1     Infringement Contentions as discovery in this case progresses, under Patent L.R. 3-6, or as
 2     otherwise permitted by the Court.
 3            I.      Identification of Willful Infringement Bases Pursuant to Patent L.R. 3-1(i)
 4            Sonos contends that Google has willfully infringed, and continues willfully infringing,
 5     each asserted claim of each Asserted Patent. The bases for this contention are set forth in Sonos’s
 6     Objections and Responses to Google LLC’s First Set of Interrogatories (Nos. 9 and 14), the
 7     contents of which are herein incorporated by reference. See Sonos, Inc.’s Objections and
 8     Responses to Google LLC’s First Set of Interrogatories (Nos. 1-20) (dated September 7, 2021).
 9            Moreover, discovery that Google has not yet produced may provide additional evidence
10     that shows Google has willfully infringed the Asserted Patents. Sonos therefore reserves its right
11     to amend and/or modify its willful infringement contentions as discovery in this case progresses,
12     under Patent L.R. 3-6, or as otherwise permitted by the Court.
13     II.    Document Production & Accompanying Disclosure
14            A.      Documents Pursuant to Patent L.R. 3-2(a)
15            Sonos is currently not aware of any documents specified by Patent L.R. 3-2(a). To the
16     extent any such document exists, however, Sonos will use its best efforts to obtain all responsive
17     documents and reserves its right to supplement its production as discovery in this case progresses,
18     under Patent L.R. 3-6, or as otherwise permitted by the Court.
19            B.      Documents Pursuant to Patent L.R. 3-2(b)
20            Pursuant to Patent L.R. 3-2(b), Sonos has produced documents bearing production
21     numbers SONOS-SVG2-00026244 through SONOS-SVG2-00027721 and SONOS-SVG2-
22     00042660 through SONOS-SVG2-00042698.
23            C.      Documents Pursuant to Patent L.R. 3-2(c)
24            Pursuant to Patent L.R. 3-2(c), Sonos has produced documents bearing production
25     numbers SONOS-SVG2-00000001 through SONOS-SVG2-00000754 and SONOS-SVG2-
26     00001167 through SONOS-SVG2-00017989.
27            D.      Documents Pursuant to Patent L.R. 3-2(d)
28
                                                                              SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                      27                        SUPPLEMENTAL DISCLOSURES
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 1            Pursuant to Patent L.R. 3-2(d), Sonos has produced documents bearing production
 2     numbers SONOS-SVG2-00042892 through SONOS-SVG2-00042904.
 3            E.      Documents Pursuant to Patent L.R. 3-2(e)
 4            Pursuant to Patent L.R. 3-2(e), Sonos has produced documents bearing production
 5     numbers SONOS-SVG2-00042699 through SONOS-SVG2-00042891 and SONOS-SVG2-
 6     00042946 through SONOS-SVG2-00042952. Sonos is also making available for inspection
 7     Sonos source code that demonstrates the operation of the Sonos products identified above
 8     pursuant to L.R. 3-1(g).
 9            Moreover, Sonos is in possession of certain additional documents that may fall under
10     Patent L.R. 3-2(e) but such documents contain information that is subject to third-party
11     confidentiality obligations. Sonos is endeavoring to comply with these confidentiality obligations
12     and will produce these certain additional documents as soon as Sonos is permitted pursuant to the
13     third-party confidentiality obligations.
14            F.      Documents Pursuant to Patent L.R. 3-2(f)
15            Although Sonos is not aware of any agreements that transfer any ownership interest in the
16     Asserted Patents, for the avoidance of doubt, Sonos has produced certain non-exclusive patent
17     license agreements and covenants not to sue bearing production numbers SONOS-SVG2-
18     00042905 through SONOS-SVG2-00042944. Sonos is in possession of certain additional non-
19     exclusive patent license agreements and covenants not to sue but is prohibited from producing
20     such agreements pursuant to third-party confidentiality obligations.
21            Moreover, Sonos herein incorporates by reference Sonos’s Objections and Responses to
22     Google LLC’s First Set of Interrogatories (No. 13). See Sonos, Inc.’s Objections and Responses
23     to Google LLC’s First Set of Interrogatories (Nos. 1-20) (dated September 7, 2021).
24            G.      Documents Pursuant to Patent L.R. 3-2(g)
25            Sonos states that it has covenanted not to sue DEI Sales, Inc., and subsidiaries that existed
26     as of May 17, 2018, for patent infringement, granted a patent license to Lenbrook Industries
27     Limited and relevant subsidiaries on July 28, 2020, and granted a patent license to Pass &
28     Seymour, Inc. on December 7, 2020.
                                                                              SONOS, INC.’S P.L.R. 3-1 & 3-2
                                                      28                        SUPPLEMENTAL DISCLOSURES
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 1            Pursuant to Patent L.R. 3-2(g), Sonos states that it has produced the Lenbrook Industries
 2     Limited and Pass & Seymour, Inc. agreements at SONOS-SVG2-00042905 through SONOS-
 3     SVG2-00042944. The DEI Sales, Inc. agreement is subject to third-party confidentiality
 4     obligations and, after inquiry, Sonos is unable to produce this agreement subject to those
 5     obligations.
 6            H.      Documents Pursuant to Patent L.R. 3-2(h)
 7            Pursuant to Patent L.R. 3-2(h), Sonos incorporates its response regarding L.R. 3-2(f) and
 8     L.R. 3-2(g).
 9            I.      Documents Pursuant to Patent L.R. 3-2(i)
10            Pursuant to Patent L.R. 3-2(i), Sonos has produced a document bearing production
11     number SONOS-SVG2-00042945.
12            J.      Documents Pursuant to Patent L.R. 3-2(J)
13            Sonos is currently not aware of any documents specified by Patent L.R. 3-2(j). To the
14     extent any such document exists, however, Sonos will use its best efforts to obtain all responsive
15     documents and reserves its right to supplement its production as discovery in this case progresses,
16     under Patent L.R. 3-6, or as otherwise permitted by the Court.
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                                                                              SONOS, INC.’S P.L.R. 3-1 & 3-2
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                                                                    SONOS, INC.’S P.L.R. 3-1 & 3-2
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                                          31                        SUPPLEMENTAL DISCLOSURES
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              Appendix 1
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                     Model                    Developer
Iconia A500                          Acer
Iconia A510                          Acer
Iconia A700                          Acer
Iconia W510                          Acer
Iconia W700                          Acer
Iconia A701                          Acer
Chromebook Spin (all versions)       Acer
Chromebook Touch (all versions)      Acer
Aspire (all versions)                Acer
Enduro (all versions)                Acer
Extensa (all versions)               Acer
Ferrari (all versions)               Acer
Nitro (all versions)                 Acer
Predator (all versions)              Acer
Swift (all versions)                 Acer
Spin (all versions)                  Acer
Switch (all versions)                Acer
TravelMate (all versions)            Acer
Novo7 Aurora II                      Ainol
Novo7 Flame                          Ainol
Amazon Fire Phone                    Amazon
Kindle Fire                          Amazon
Kindle Fire HD                       Amazon
Kindle Fire HDX                      Amazon
iPhone 4                             Apple
iPhone 4S                            Apple
iPhone 5                             Apple
iPhone 5C                            Apple
iPhone 5S                            Apple
iPhone 6                             Apple
iPhone 6 Plus                        Apple
iPhone 6S                            Apple
iPhone 6S Plus                       Apple
iPhone SE                            Apple
(1st generation)                     Apple
iPhone 7                             Apple
iPhone 7 Plus                        Apple
iPhone 8                             Apple
iPhone 8 Plus                        Apple
iPhone X                             Apple
iPhone XR                            Apple
iPhone XS                            Apple
iPhone XS Max                        Apple
iPhone 11                            Apple
iPhone 11 Pro                        Apple
iPhone 11 Pro Max                    Apple
iPhone SE                            Apple
(2nd generation)                     Apple
iPhone 12                            Apple
iPhone 12 Mini                       Apple
iPhone 12 Pro                        Apple
iPhone 12 Pro Max                    Apple
iPhone 13                            Apple
iPhone 13 Mini                       Apple
iPhone 13 Pro                        Apple
iPhone 13 Pro Max                    Apple
iPad (1st generation)                Apple
iPad 2                               Apple
iPad (3rd generation)                Apple
iPad (4th generation)                Apple
iPad (5th generation)                Apple
iPad (6th generation)                Apple
iPad (7th generation)                Apple
iPad (8th generation)                Apple
iPad (9th generation)                Apple
iPad Air (1st generation)            Apple
iPad Air 2                           Apple
iPad Air (3rd generation)            Apple
iPad Air (4th generation)            Apple
iPad Pro 12.9‐in. (1st generation)   Apple
iPad Pro 9.7‐in.                     Apple
iPad Pro 12.9‐in. (2nd generation)   Apple
iPad Pro 10.5‐in.                    Apple
iPad Pro 12.9‐in. (3rd generation)   Apple
iPad Pro 11‐in. (1st generation)     Apple
iPad Pro 12.9‐in. (4th generation)   Apple
iPad Pro 11‐in. (2nd generation)     Apple




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iPad Pro 12.9‐in. (5th generation)     Apple
iPad Pro 11‐in. (3rd generation)       Apple
MacBook (all versions)                 Apple
MacBook Air (all versions)             Apple
MacBook Pro (all versions)             Apple
80 G9 HDD                              Archos
80 G9 SSD                              Archos
97 Titanium HD                         Archos
101 XS                                 Archos
Arirang (original)                     Arirang
Arirang 171                            Arirang (smartphone)
Asus PadFone                           Asus
Asus PadFone 2                         Asus
Asus PadFone Infinity                  Asus
Asus PadFone Infinity 2                Asus
Asus PadFone mini                      Asus
Asus PadFone E                         Asus
Asus PadFone Infinity Lite             Asus
Asus ZenFone 5 (2014)                  Asus
Asus ZenFone 4 (2014)                  Asus
Asus ZenFone 6 (2014)                  Asus
Asus PadFone S/X                       Asus
Asus ZenFone 4.5 (2014)                Asus
Asus ZenFone 5 (2014)                  Asus
Asus PadFone X mini                    Asus
Asus Pegasus (X002)                    Asus
Asus ZenFone 5 (2015)                  Asus
Asus ZenFone 2                         Asus
Asus ZenFone 3                         Asus
Asus ZenFone 4                         Asus
Asus ZenFone Max Plus M1               Asus
Asus ZenFone Max M1                    Asus
Asus ZenFone Max Pro M1                Asus
Asus ZenFone 5                         Asus
Asus ZenFone Live L1                   Asus
Asus ROG Phone                         Asus
Asus ZenFone Lite L1                   Asus
Asus ZenFone Max M2                    Asus
Asus ZenFone Max Pro M2                Asus
Asus ZenFone Max Shot                  Asus
Asus ZenFone Max Plus M2               Asus
Asus ZenFone Live L2                   Asus
Asus ZenFone 6                         Asus
Asus ROG Phone II                      Asus
Asus ROG Phone 3                       Asus
Asus ZenFone 7                         Asus
Asus ROG Phone 5                       Asus
Asus ZenFone 8                         Asus
Eee Pad Transformer TF101              Asus
Eee Pad Transformer Prime              Asus
PadFone 2                              Asus
Transformer Pad TF300                  Asus
Transformer Pad Infinity TF700T        Asus
Transformer Pad Infinity LTE TF700KL   Asus
Transformer Pad TF701T                 Asus
Transformer Book T100                  Asus
VivoTab                                Asus
Google Nexus 7                         Asus
Chromebook Flip (all versions)         Asus
Chromebook (all versions)              Asus
ExpertBook (all versions)              Asus
Pro (all versions)                     Asus
ProArt (all versions)                  Asus
ROG (all versions)                     Asus
Transformer (all versions)             Asus
TUF (all versions)                     Asus
VivoBook (all versions)                Asus
ZenBook (all versions)                 Asus
Nook Tablet                            Barnes & Noble
Nook HD+                               Barnes & Noble
BlackBerry Priv                        BlackBerry Limited
BlackBerry DTEK50                      BlackBerry Limited
BlackBerry DTEK60                      BlackBerry Limited
BlackBerry Aurora                      BlackBerry Mobile
BlackBerry KeyOne                      BlackBerry Mobile
BlackBerry Motion                      BlackBerry Mobile
BlackBerry Key2                        BlackBerry Mobile
BlackBerry Evolve/X                    BlackBerry Mobile




                                                                       2
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BlackBerry Key2 LE                    BlackBerry Mobile
BoringPhone                           BoringPhone
Cherry Mobile Flare S8 Deluxe         Cherry Mobile
Cherry Mobile Flare S8 Pro            Cherry Mobile
Cherry Mobile Flare S8 Plus           Cherry Mobile
Cherry Mobile Flare S8 Lite           Cherry Mobile
Steak 7                               Dell
Inspiron Chromebooks (all versions)   Dell
Latitude Chromebooks (all versions)   Dell
Alienware (all versions)              Dell
G Series (all versions)               Dell
Inspiron (all versions)               Dell
Latitute (all versions)               Dell
Precision (all versions)              Dell
Vostro (all versions)                 Dell
XPS (all versions)                    Dell
OptiPlex (all versions)               Dell
Essential PH‐1                        Essential Products
Fairphone 1                           FairPhone
Fairphone 2                           FairPhone
Fairphone 3                           FairPhone
Fairphone 3+                          FairPhone
Fairphone 4                           FairPhone
Freedom Phone                         Freedom Phone
Nabi 2                                Fuhu
Pixel/XL                              Google
Pixel 2/XL                            Google
Pixel 3/XL                            Google
Pixel 3a/XL                           Google
Pixel 4/XL                            Google
Pixel 4a                              Google
Pixel 4a (5G)                         Google
Pixel 5                               Google
Pixel 5a                              Google
Pixel 6/Pro                           Google
Chromebook Pixel                      Google
Pixelbook                             Google
Pixelbook Go                          Google
Slate                                 Google
Goophone X                            Goophone
Goophone i5C                          Goophone
Goophone i5S                          Goophone
Goophone i6                           Goophone
Goophone i5                           Goophone
Goophone 12 Pro                       Goophone
Nokia 6                               HMD Global
Nokia 3                               HMD Global
Nokia 5                               HMD Global
Nokia 7                               HMD Global
Nokia 8                               HMD Global
Nokia 2                               HMD Global
Nokia 7 Plus                          HMD Global
Nokia 1                               HMD Global
Nokia 6.1                             HMD Global
Nokia 8 Sirocco                       HMD Global
Nokia 3.1                             HMD Global
Nokia 5.1 Plus                        HMD Global
Nokia 2.1                             HMD Global
Nokia 5.1                             HMD Global
Nokia 6.1 Plus                        HMD Global
Nokia 3.1 Plus                        HMD Global
Nokia 7.1                             HMD Global
Nokia 8.1                             HMD Global
Nokia 9 PureView                      HMD Global
Nokia 1 Plus                          HMD Global
Nokia 4.2                             HMD Global
Nokia 3.2                             HMD Global
Nokia 2.2                             HMD Global
Nokia 6.2                             HMD Global
Nokia 7.2                             HMD Global
Nokia 2.3                             HMD Global
Nokia C1                              HMD Global
Nokia C2                              HMD Global
Nokia 1.3                             HMD Global
Nokia 5.3                             HMD Global
Nokia C2 Tava                         HMD Global
Nokia C5 Endi                         HMD Global
Nokia C2 Tennen                       HMD Global




                                                                    3
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Nokia C3                           HMD Global
Nokia 2.4                          HMD Global
Nokia 3.4                          HMD Global
Nokia C1 Plus                      HMD Global
Nokia 5.4                          HMD Global
Nokia 1.4                          HMD Global
Nokia C20                          HMD Global
Nokia G10                          HMD Global
Nokia G20                          HMD Global
Nokia X20                          HMD Global
Nokia C10                          HMD Global
Nokia X10                          HMD Global
Nokia C01 Plus                     HMD Global
Nokia C20 Plus                     HMD Global
Nokia C30                          HMD Global
Nokia XR20                         HMD Global
Honor V40                          Honor
Honor V40 Lite                     Honor
Honor Play 5T Youth                Honor
Honor Play 20                      Honor
Honor Play 5                       Honor
Honor 50/Pro                       Honor
Honor 50 SE                        Honor
Honor X20 SE                       Honor
Honor Play 5T Pro                  Honor
Honor Magic3/Pro/Pro+              Honor
Honor X20                          Honor
Honor Play 5 Youth                 Honor
Honor 50 Lite                      Honor
Honor X30 Max/X30i                 Honor
Honor 60/Pro                       Honor
Honor X30                          Honor
Honor Play 30 Plus                 Honor
Mediapad 10 FHD                    Honor
HP Chromebook (all versions)       HP
HP Pro Chromebook (all versions)   HP
HP Elite (all versions)            HP
Compaq (all versions)              HP
Elitebook (all versions)           HP
Envy (all versions)                HP
Omen (all versions)                HP
Pavillion (all versions)           HP
ZBook (all versions)               HP
Spectre (all versions)             HP
Victus (all versions)              HP
ProBook (all versions)             HP
OmniBook (all versions)            HP
HTC Magic                          HTC
HTC Hero                           HTC
HTC Tattoo                         HTC
HTC Desire                         HTC
HTC Legend                         HTC
HTC Droid Incredible               HTC
HTC Wildfire                       HTC
HTC Aria                           HTC
HTC Evo 4G                         HTC
HTC Evo 4G+                        HTC
HTC Desire HD                      HTC
HTC Desire Z                       HTC
HTC Gratia                         HTC
HTC Evo Shift 4G                   HTC
HTC Inspire 4G                     HTC
HTC Incredible S                   HTC
HTC ThunderBolt                    HTC
HTC Desire S                       HTC
HTC Merge                          HTC
HTC Sensation                      HTC
HTC Wildfire S                     HTC
HTC ChaCha                         HTC
HTC Salsa                          HTC
HTC Evo 3D                         HTC
HTC Amaze 4G                       HTC
HTC Explorer                       HTC
HTC Sensation XE                   HTC
HTC Rhyme                          HTC
HTC Raider 4G                      HTC
HTC Evo Design 4G                  HTC
HTC Sensation XL                   HTC




                                                         4
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HTC Rezound                          HTC
HTC One S                            HTC
HTC One V                            HTC
HTC One X/XL                         HTC
HTC Evo 4G LTE                       HTC
HTC One S C2                         HTC
HTC Desire C                         HTC
HTC Desire V                         HTC
HTC Droid Incredible 4G LTE          HTC
HTC Desire VC                        HTC
HTC Desire XC                        HTC
HTC One XC                           HTC
HTC J                                HTC
HTC Desire VT                        HTC
HTC Desire X                         HTC
HTC One VX                           HTC
HTC One X+                           HTC
HTC Desire SV                        HTC
HTC Desire 400                       HTC
HTC One SV                           HTC
HTC Butterfly                        HTC
HTC One (M7)                         HTC
HTC First                            HTC
HTC Desire L/P/Q                     HTC
HTC Desire U                         HTC
HTC Desire 600                       HTC
HTC Desire 200                       HTC
HTC Butterfly S                      HTC
HTC One Mini                         HTC
HTC Desire 500                       HTC
HTC One Max                          HTC
HTC Desire 601                       HTC
HTC Desire 300                       HTC
HTC Desire 601 dual sim              HTC
HTC Desire 700                       HTC
HTC Desire 501                       HTC
HTC Desire 816                       HTC
HTC One (M8)                         HTC
HTC Desire 310                       HTC
HTC Desire 610                       HTC
HTC Desire 816 dual sim              HTC
HTC One Mini 2                       HTC
HTC Desire 210                       HTC
HTC Desire 616                       HTC
HTC One (E8)                         HTC
HTC Desire 516                       HTC
HTC One Remix                        HTC
HTC Butterfly 2                      HTC
HTC Desire 510                       HTC
HTC Desire 820q                      HTC
HTC Desire 612                       HTC
HTC One (M8 Eye)                     HTC
HTC Desire 816G                      HTC
HTC Desire 820                       HTC
HTC Desire Eye                       HTC
HTC Desire 620/G                     HTC
HTC Desire 320                       HTC
HTC Desire 526G+                     HTC
HTC Desire 826                       HTC
HTC Desire 626                       HTC
HTC Desire 820s                      HTC
HTC Desire 626G+                     HTC
HTC One M9                           HTC
HTC One E9/+                         HTC
HTC One M8s                          HTC
HTC One M9+                          HTC
HTC Desire 326G                      HTC
HTC Desire 820G+                     HTC
HTC One ME                           HTC
HTC Desire 626s                      HTC
HTC Desire 526                       HTC
HTC Desire 626 (USA)                 HTC
HTC One M9+ Supreme Camera Edition   HTC
HTC Butterfly 3                      HTC
HTC One E9s                          HTC
HTC One A9                           HTC
HTC Desire 520                       HTC
HTC Desire 728                       HTC




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HTC Desire 828            HTC
HTC One M9s               HTC
HTC One X9                HTC
HTC Desire 530            HTC
HTC Desire 825            HTC
HTC 10                    HTC
HTC Desire 830            HTC
HTC One M9 Prime Camera   HTC
HTC Desire 630            HTC
HTC 10 Lifestyle          HTC
HTC One S9                HTC
HTC Desire 628            HTC
HTC Desire 625            HTC
HTC Desire 10 Lifestyle   HTC
HTC Desire 728 Ultra      HTC
HTC One A9s               HTC
HTC 10 evo                HTC
HTC Desire 10 Pro         HTC
HTC Desire 650            HTC
HTC U Play                HTC
HTC U Ultra               HTC
HTC U11                   HTC
HTC One X10               HTC
HTC U11+/Life             HTC
HTC U11 EYEs              HTC
HTC U12+                  HTC
HTC U12 life              HTC
HTC Desire 12/12+         HTC
HTC Exodus 1              HTC
HTC Desire 12s            HTC
HTC Desire 19+            HTC
HTC U19e                  HTC
HTC Wildfire X            HTC
HTC Exodus 1s             HTC
HTC Desire 19s            HTC
HTC Wildfire R70          HTC
HTC Desire 20 Pro         HTC
HTC Wildfire E2           HTC
HTC U20 5G                HTC
HTC Desire 20+            HTC
HTC Desire 21 Pro         HTC
HTC Wildfire E3           HTC
Flyer                     HTC
Google Nexus 9            HTC
Nexus One                 HTC/Google
Honor U8860               Huawei
Honor 2                   Huawei
Honor 3                   Huawei
Honor 3C                  Huawei
Honor 3X                  Huawei
Honor 3X Pro              Huawei
Honor 3C 4G               Huawei
Honor 6                   Huawei
Honor 3C Play             Huawei
Honor 4 Play              Huawei
Honor Holly               Huawei
Honor 4X                  Huawei
Honor 6 Plus              Huawei
Honor 4C                  Huawei
Honor Bee                 Huawei
Honor 7                   Huawei
Honor 7i                  Huawei
Honor 5X                  Huawei
Honor Holly 2 Plus        Huawei
Honor 5c                  Huawei
Honor V8                  Huawei
Honor 5A                  Huawei
Honor 8                   Huawei
Honor Note 8              Huawei
Honor Holly 3             Huawei
Honor 6X                  Huawei
Honor Magic               Huawei
Honor 8 Pro               Huawei
Honor 6A                  Huawei
Honor 9                   Huawei
Honor 6C Pro              Huawei
Honor 7X                  Huawei
Honor V10                 Huawei




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Honor 9 Lite              Huawei
Honor 7A                  Huawei
Honor 7C                  Huawei
Honor 10                  Huawei
Honor 7S                  Huawei
Honor 9N                  Huawei
Honor Play                Huawei
Honor Note 10             Huawei
Honor 8X/Max              Huawei
Honor 8C                  Huawei
Honor Magic 2/3D          Huawei
Honor 10 Lite             Huawei
Honor V20                 Huawei
Honor Play 8A             Huawei
Honor 8A Pro              Huawei
Honor 20 lite             Huawei
Honor 20i                 Huawei
Honor 20                  Huawei
Honor 20 Pro              Huawei
Honor 9X (China)          Huawei
Honor 9X Pro              Huawei
Honor Play 3/3e           Huawei
Honor 20S                 Huawei
Honor 20 lite (China)     Huawei
Honor 9X                  Huawei
Honor V30/30 Pro          Huawei
Honor 8A Prime            Huawei
Honor Play 9A             Huawei
Honor 30S                 Huawei
Honor Play 4T/Pro         Huawei
Honor 8A 2020             Huawei
Honor 20e                 Huawei
Honor 30/Pro/Pro+         Huawei
Honor 9X Lite             Huawei
Honor 9C/9S/9A            Huawei
Honor X10                 Huawei
Honor 8S 2020             Huawei
Honor Play4/Pro           Huawei
Honor 30 Lite             Huawei
Honor X10 Max             Huawei
Honor 30i                 Huawei
Honor 10X Lite            Huawei
Huawei U8230              Huawei
Huawei U8100              Huawei
Huawei IDEOS              Huawei
Huawei IDEOS X5           Huawei
Huawei Sonic              Huawei
Huawei Ascend P1          Huawei
Huawei STREAM X GL07S     Huawei
Huawei Ascend Mate        Huawei
Huawei Ascend P2          Huawei
Huawei Ascend P6          Huawei
Huawei Ascend Mate 2 4G   Huawei
Huawei Ascend P7          Huawei
Huawei Enjoy 7 Plus       Huawei
Huawei Ascend Mate 7      Huawei
Huawei P8                 Huawei
Huawei Mate S             Huawei
Huawei Mate 8             Huawei
Huawei P9                 Huawei
Huawei Nova/Plus          Huawei
Huawei Mate 9             Huawei
Huawei P10                Huawei
Huawei Nova 2/Plus        Huawei
Huawei Mate 10 Lite       Huawei
Huawei Mate 10            Huawei
Huawei P20                Huawei
Huawei Nova 3i/P Smart+   Huawei
Huawei Nova 3             Huawei
Huawei Mate 20            Huawei
Huawei Nova 4             Huawei
Huawei Nova 4e            Huawei
Huawei P30                Huawei
Huawei P30 lite           Huawei
Huawei Nova 5/5i/Pro      Huawei
Huawei Nova 5i Pro        Huawei
Huawei Nova 5T            Huawei
Huawei Mate 30            Huawei




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Huawei Nova 5z              Huawei
Huawei Nova 6/5G/SE         Huawei
Huawei Y7p                  Huawei
Huawei Nova 7i              Huawei
Huawei P40 lite             Huawei
Huawei P40 lite E           Huawei
Huawei P40                  Huawei
Huawei Nova 7/Pro/SE        Huawei
Huawei P40 lite 5G          Huawei
Huawei Nova 7 SE 5G Youth   Huawei
Huawei Mate 40              Huawei
Huawei Nova 8 SE            Huawei
Huawei Nova 8 5G/Pro        Huawei
Huawei Mate X2              Huawei
Huawei Nova 8 Pro 4G        Huawei
Huawei Nova 8i              Huawei
Huawei Nova 8 SE Youth      Huawei
Huawei Nova 9               Huawei
Huawei Enjoy 20e            Huawei
Ideos Tablet S7             Huawei
MateBook (all versions)     Huawei
Nexus 6P                    Huawei/Google
Arc 10 HD                   Kobo
Arc 10 HD                   Kobo
Kodak Ektra (phone)         Kodak
Lenovo P780                 Lenovo
Lenovo Vibe Z               Lenovo
Lenovo A526                 Lenovo
Lenovo Vibe Z2 Pro          Lenovo
Lenovo Vibe Z2              Lenovo
ZUK Z1                      Lenovo
Lenovo Vibe P1              Lenovo
Lenovo Vibe K4 Note         Lenovo
Lenovo K5 Note              Lenovo
Lenovo Vibe P1 Turbo        Lenovo
Lenovo Vibe K5/Plus         Lenovo
ZUK Z2                      Lenovo
Lenovo Phab 2/Plus/Pro      Lenovo
Lenovo K6/Power/Note        Lenovo
Lenovo P2                   Lenovo
Lenovo Z2 Plus              Lenovo
Lenovo Legion Pro           Lenovo
Lenovo Legion Duel          Lenovo
Lenovo Legion 2 Pro         Lenovo
Lenovo Legion Duel 2        Lenovo
IdeaTab S2110               Lenovo
IdeaPad Yoga                Lenovo
IdeaPad K1                  Lenovo
Thinkpad                    Lenovo
Thinkpad Tablet 2           Lenovo
IdeaPad (all versions)      Lenovo
Legion (all versions)       Lenovo
ThinkPad (all versions)     Lenovo
ThinkBook (all versions)    Lenovo
Yoga (all versions)         Lenovo
Optimus Pad                 LG
Optimus Pad LTE             LG
Tab‐Book                    LG
G Pad 8.3                   LG
Gram (all versions)         LG
Xnote (all versions)        LG
LG GW620                    LG Electronics
LG Optimus Q                LG Electronics
LG Optimus                  LG Electronics
LG Optimus One              LG Electronics
LG Optimus Chic             LG Electronics
LG Optimus 2X               LG Electronics
LG Optimus Black            LG Electronics
LG Optimus 3D               LG Electronics
LG Optimus Slider           LG Electronics
LG Optimus LTE (LU6200)     LG Electronics
LG Optimus 4X HD            LG Electronics
LG Optimus LTE (SU640)      LG Electronics
LG Optimus L9               LG Electronics
LG Optimus Vu               LG Electronics
LG Optimus G                LG Electronics
LG G2                       LG Electronics
LG G Flex                   LG Electronics




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LG G Pro Lite            LG Electronics
LG Gx                    LG Electronics
LG G2 Mini               LG Electronics
LG G Pro 2               LG Electronics
LG G3                    LG Electronics
LG G3 Stylus             LG Electronics
LG G Flex 2              LG Electronics
LG G4                    LG Electronics
LG V10                   LG Electronics
LG K10 (2016)            LG Electronics
LG G5                    LG Electronics
LG V20                   LG Electronics
LG K10 (2017)            LG Electronics
LG G6                    LG Electronics
LG V30                   LG Electronics
LG G7 ThinQ              LG Electronics
LG V35 ThinQ             LG Electronics
LG K10 (2018)            LG Electronics
LG V40 ThinQ             LG Electronics
LG G8 ThinQ              LG Electronics
LG V50 ThinQ             LG Electronics
LG Stylo 5               LG Electronics
LG W10/W30               LG Electronics
LG W30 Pro               LG Electronics
LG W10 Alpha             LG Electronics
LG Q51                   LG Electronics
LG V60 ThinQ             LG Electronics
LG Velvet                LG Electronics
LG Stylo 6               LG Electronics
LG Q61                   LG Electronics
LG K31                   LG Electronics
LG Q92 5G                LG Electronics
LG K22                   LG Electronics
LG K42/K71               LG Electronics
LG Q31                   LG Electronics
LG Wing                  LG Electronics
LG Q52                   LG Electronics
LG K52/K62               LG Electronics
LG K92 5G                LG Electronics
LG W31/+                 LG Electronics
LG W41/+/Pro             LG Electronics
Nexus 4                  LG Electronics/Google
Nexus 5                  LG Electronics/Google
Nexus 5X                 LG Electronics/Google
Marshall London          Marshall Amplification
Meizu M9                 Meizu
Meizu MX                 Meizu
Meizu MX 4‐core          Meizu
Meizu MX2                Meizu
Meizu MX3                Meizu
Meizu MX4                Meizu
Meizu MX4 Pro            Meizu
Meizu M1/1 Note          Meizu
Meizu M2 Note            Meizu
Meizu MX5                Meizu
Meizu M2                 Meizu
Meizu PRO 5              Meizu
Meizu M1 Metal           Meizu
Meizu MX5e               Meizu
Meizu M3 Note            Meizu
Meizu PRO 6              Meizu
Meizu M3                 Meizu
Meizu M3s                Meizu
Meizu MX6                Meizu
Meizu M3E                Meizu
Meizu U10/20             Meizu
Meizu M3 Max             Meizu
Meizu M5                 Meizu
Meizu PRO 6s             Meizu
Meizu M3x                Meizu
Meizu PRO 6 Plus         Meizu
Meizu M5 Note            Meizu
Meizu M5s                Meizu
Meizu E2                 Meizu
Meizu M5c                Meizu
Meizu PRO 7/Plus         Meizu
Meizu M6 Note            Meizu
Meizu M6                 Meizu




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Meizu M6s                 Meizu
Meizu E3                  Meizu
Meizu 15/Pro/Lite         Meizu
Meizu M8c                 Meizu
Meizu M6T                 Meizu
Meizu 16th/Plus           Meizu
Meizu 16X                 Meizu
Meizu V8/Pro              Meizu
Meizu X8                  Meizu
Meizu Note 8              Meizu
Meizu C9/Pro              Meizu
Meizu Note 9              Meizu
Meizu M10                 Meizu
Meizu 16s                 Meizu
Meizu 16Xs                Meizu
Meizu 16s Pro             Meizu
Meizu 16T                 Meizu
Meizu 17/Pro              Meizu
Meizu 18/Pro              Meizu
Meizu 18s/Pro             Meizu
Meizu 18X                 Meizu
Surface Duo               Microsoft
Surface Pro               Microsoft
Surace RT                 Microsoft
Surface (all versions)    Microsoft
Nokia XL                  Microsoft Mobile
Nokia X2                  Microsoft Mobile
Mode Phone MP1            Mode
Motorola Cliq             Motorola
Motorola Droid            Motorola
Motorola Backflip         Motorola
Motorola Flipout          Motorola
Motorola Droid X          Motorola
Motorola Charm            Motorola
Motorola Droid 2          Motorola
Motorola Defy             Motorola
Motorola Droid Pro        Motorola
Xoom                      Motorola
Droid XYBoard (Xoom 2)    Motorola
Motorola Atrix 4G         Motorola Mobility
Motorola Droid 3          Motorola Mobility
Motorola Droid Bionic     Motorola Mobility
Motorola Atrix 2          Motorola Mobility
Motorola Droid Razr       Motorola Mobility
Motorola Droid 4          Motorola Mobility
Motorola Atrix HD         Motorola Mobility
Motorola Photon Q         Motorola Mobility
Motorola Droid Razr M     Motorola Mobility
Motorola Droid Razr HD    Motorola Mobility
Motorola Droid Maxx       Motorola Mobility
Motorola Droid Mini       Motorola Mobility
Moto X (1st generation)   Motorola Mobility
Moto G (1st generation)   Motorola Mobility
Moto E (1st generation)   Motorola Mobility
Moto G (2nd generation)   Motorola Mobility
Moto X (2nd generation)   Motorola Mobility
Motorola Droid Turbo      Motorola Mobility
Moto E (2nd generation)   Motorola Mobility
Moto G (3rd generation)   Motorola Mobility
Moto X Play               Motorola Mobility
Moto X Style              Motorola Mobility
Moto G4                   Motorola Mobility
Moto E3                   Motorola Mobility
Moto Z                    Motorola Mobility
Moto Z Play               Motorola Mobility
Moto G5                   Motorola Mobility
Moto C                    Motorola Mobility
Moto E4                   Motorola Mobility
Moto Z2 Play              Motorola Mobility
Moto Z2 Force             Motorola Mobility
Moto X4                   Motorola Mobility
Moto E5                   Motorola Mobility
Moto G6                   Motorola Mobility
Moto Z3 Play              Motorola Mobility
Moto Z3                   Motorola Mobility
Motorola One/One Power    Motorola Mobility
Moto G7                   Motorola Mobility
Motorola One Vision       Motorola Mobility




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Moto Z4                 Motorola Mobility
Motorola One Zoom       Motorola Mobility
Moto G8 Plus            Motorola Mobility
Motorola One Macro      Motorola Mobility
Motorola One Action     Motorola Mobility
Motorola Razr (4G)      Motorola Mobility
Motorola One Hyper      Motorola Mobility
Moto G8 Power           Motorola Mobility
Moto G Power/Stylus     Motorola Mobility
Moto G8                 Motorola Mobility
Moto E6s (2020)         Motorola Mobility
Moto G8 Power Lite      Motorola Mobility
Motorola Edge/Edge+     Motorola Mobility
Moto G Pro              Motorola Mobility
Moto E (2020)           Motorola Mobility
Moto G Fast             Motorola Mobility
Motorola One Fusion+    Motorola Mobility
Motorola One Fusion     Motorola Mobility
Moto G 5G Plus          Motorola Mobility
Moto G9 Play            Motorola Mobility
Moto G9 Plus            Motorola Mobility
Moto E7 Plus            Motorola Mobility
Motorola Razr (5G)      Motorola Mobility
Moto G9 Power           Motorola Mobility
Moto G 5G               Motorola Mobility
Moto E7                 Motorola Mobility
Moto G Play (2021)      Motorola Mobility
Moto G Power (2021)     Motorola Mobility
Moto G Stylus (2021)    Motorola Mobility
Moto E6i                Motorola Mobility
Moto E7 Power           Motorola Mobility
Moto G10                Motorola Mobility
Moto G30                Motorola Mobility
Moto G10 Power          Motorola Mobility
Moto G50                Motorola Mobility
Moto G100               Motorola Mobility
Moto G60                Motorola Mobility
Moto G40 Fusion         Motorola Mobility
Moto G20                Motorola Mobility
Moto G Stylus 5G        Motorola Mobility
Motorola Defy (2021)    Motorola Mobility
Moto G50 5G             Motorola Mobility
Moto G60S               Motorola Mobility
Motorola Edge 20        Motorola Mobility
Motorola Edge (2021)    Motorola Mobility
Nexus 6                 Motorola Mobility/Google
MyPhone myA1 Plus       MyPhone
MyPhone myA17           MyPhone
MyPhone myP1            MyPhone
Nextbit Robin           Nextbit
Nokia X                 Nokia
Shield Tablet           Nvidia
OnePlus One             OnePlus
OnePlus 2               OnePlus
OnePlus X               OnePlus
OnePlus 3               OnePlus
OnePlus 3T              OnePlus
OnePlus 5               OnePlus
OnePlus 5T              OnePlus
OnePlus 6               OnePlus
OnePlus 6T              OnePlus
OnePlus 7/Pro           OnePlus
OnePlus 7T/Pro          OnePlus
OnePlus 8/Pro           OnePlus
OnePlus Nord            OnePlus
OnePlus 8T              OnePlus
OnePlus Nord N10 5G     OnePlus
OnePlus Nord N100       OnePlus
OnePlus 9/Pro           OnePlus
OnePlus Nord CE 5G      OnePlus
OnePlus Nord N200 5G    OnePlus
OnePlus Nord 2 5G       OnePlus
OnePlus 10 Pro          OnePlus
Oppo Finder             Oppo
Oppo Find 5             Oppo
Oppo N1                 Oppo
Oppo Find 5 Mini        Oppo
Oppo Neo                Oppo




                                                            11
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Oppo Find 7/7a                 Oppo
Oppo Joy                       Oppo
Oppo N1 mini                   Oppo
Oppo Neo 3/5                   Oppo
Oppo N3                        Oppo
Oppo Joy Plus                  Oppo
Oppo Neo 5s                    Oppo
Oppo R7                        Oppo
Oppo Neo 5 (2015)              Oppo
Oppo Joy 3                     Oppo
Oppo Neo 7                     Oppo
Oppo F1                        Oppo
Oppo R11                       Oppo
Oppo F7                        Oppo
Oppo R15 Pro                   Oppo
Oppo Find X                    Oppo
Oppo F9                        Oppo
Oppo R17                       Oppo
Oppo Reno                      Oppo
Oppo Reno2                     Oppo
Oppo A9 (2020)                 Oppo
Oppo Reno3 5G/Pro 5G           Oppo
Oppo Reno3 Pro                 Oppo
Oppo Find X2/Pro               Oppo
Oppo Reno3                     Oppo
Oppo Ace2                      Oppo
Oppo A12                       Oppo
Oppo A52                       Oppo
Oppo A72/A92s                  Oppo
Oppo Find X2 Lite/Neo          Oppo
Oppo A92                       Oppo
Oppo Reno4 5G/Pro 5G           Oppo
Oppo A12s                      Oppo
Oppo A72 5G                    Oppo
Oppo Reno4/Pro                 Oppo
Oppo F17/Pro                   Oppo
Oppo Reno4 SE                  Oppo
Oppo Reno4 Lite                Oppo
Oppo Reno4 Z 5G                Oppo
Oppo A93/Reno4 F               Oppo
Oppo A73                       Oppo
Oppo A73 5G                    Oppo
Oppo Reno5 5G/Pro 5G/Pro+ 5G   Oppo
Oppo Reno5                     Oppo
Oppo Find X3/Pro               Oppo
Oppo Find X3 Neo/Lite          Oppo
Palm                           Palm, Inc.
Panasonic P100                 Panasonic
Toughbook (all versions)       Panasonic
Toughpad (all versions)        Panasonic
Pepsi P1/P1S                   Pepsi
Q Phone                        Qoobex
Edge Pro                       Razer
Blade (all versions)           Razer
Razer Phone                    Razer Inc.
Razer Phone 2                  Razer Inc.
Realme 1                       Realme
Realme 2                       Realme
Realme C1                      Realme
Realme 2 Pro                   Realme
Realme U1                      Realme
Realme 3                       Realme
Realme C2                      Realme
Realme 3 Pro                   Realme
Realme X                       Realme
Realme 3i                      Realme
Realme 5                       Realme
Realme 5 Pro                   Realme
Realme XT                      Realme
Realme X2                      Realme
Realme X2 Pro                  Realme
Realme 5i                      Realme
Realme X50                     Realme
Realme C3                      Realme
Realme X50 Pro                 Realme
Realme 6                       Realme
Realme 6 Pro                   Realme
Realme 6i                      Realme




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Realme X50 Pro Player               Realme
Realme X3 SuperZoom                 Realme
Realme Narzo                        Realme
Realme C3i                          Realme
Realme X3                           Realme
Realme C11                          Realme
Realme C15                          Realme
Realme V5                           Realme
Realme C12                          Realme
Realme V3                           Realme
Realme X7/Pro                       Realme
Realme 7 (Asia)/Pro                 Realme
Realme 7i                           Realme
Realme C17                          Realme
Realme Narzo 20/Pro/20A             Realme
Realme 7 (Global)                   Realme
Realme Q2/Pro/2i                    Realme
Realme 7 5G                         Realme
Realme 7i (Global)                  Realme
Realme V15                          Realme
Realme C20                          Realme
Realme X7 (India)                   Realme
Realme V11                          Realme
Realme Narzo 30 Pro/30A             Realme
Realme C21                          Realme
Realme GT                           Realme
Realme C25                          Realme
Realme 8/Pro                        Realme
Realme V13                          Realme
Realme GT Neo                       Realme
Realme X7 Pro Ultra                 Realme
Realme 8 5G                         Realme
Realme Q3/Pro/3i                    Realme
Realme C20A                         Realme
Realme narzo 30                     Realme
Realme GT Neo Flash                 Realme
Realme Q3 Pro Carnival              Realme
Realme narzo 30 5G                  Realme
Realme X7 Max                       Realme
Realme C25s                         Realme
Realme C11 2021                     Realme
Realme C21Y                         Realme
Realme GT Master Edition            Realme
Realme GT Explorer Master Edition   Realme
Realme 8i/8s 5G                     Realme
Realme C25Y                         Realme
Realme GT Neo2                      Realme
Realme V11s                         Realme
Realme narzo 50A/50i                Realme
Realme Q3s                          Realme
Realme GT Neo2T                     Realme
Realme Q3t                          Realme
Realme GT2/Pro                      Realme
Realme 9i                           Realme
Samsung Galaxy                      Samsung Electronics
Samsung Galaxy S1                   Samsung Electronics
Samsung Galaxy S2                   Samsung Electronics
Samsung Galaxy Xcover               Samsung Electronics
Samsung Galaxy Note                 Samsung Electronics
Samsung Galaxy Y DUOS               Samsung Electronics
Samsung Galaxy S3                   Samsung Electronics
Samsung Galaxy Beam                 Samsung Electronics
Samsung Galaxy Note 2               Samsung Electronics
Samsung Galaxy Xcover 2             Samsung Electronics
Samsung Galaxy S4                   Samsung Electronics
Samsung Galaxy S4 Zoom              Samsung Electronics
Samsung Galaxy Note 3               Samsung Electronics
Samsung Galaxy Note 3 Neo           Samsung Electronics
Samsung Galaxy S5                   Samsung Electronics
Samsung Galaxy Beam 2               Samsung Electronics
Samsung Galaxy Alpha                Samsung Electronics
Samsung Galaxy Grand Prime          Samsung Electronics
Samsung Galaxy Note 4               Samsung Electronics
Samsung Galaxy Note Edge            Samsung Electronics
Samsung Galaxy A5 Duos              Samsung Electronics
Samsung Galaxy A5                   Samsung Electronics
Samsung Galaxy A3/Duos              Samsung Electronics
Samsung Galaxy E7                   Samsung Electronics




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Samsung Galaxy A7/Duos                  Samsung Electronics
Samsung Galaxy S6/Edge                  Samsung Electronics
Samsung Galaxy Xcover 3                 Samsung Electronics
Samsung Galaxy A8/Duos                  Samsung Electronics
Samsung Galaxy Note 5                   Samsung Electronics
Samsung Galaxy S6 Edge+                 Samsung Electronics
Samsung Galaxy A3 (2016)/A5 (2016)/A7
                                        Samsung Electronics
(2016)
Samsung Galaxy A9 (2016)                Samsung Electronics
Samsung Galaxy S7/Edge                  Samsung Electronics
Samsung Galaxy Xcover 3 G389F           Samsung Electronics
Samsung Galaxy A9 Pro (2016)            Samsung Electronics
Samsung Galaxy C7                       Samsung Electronics
Samsung Galaxy Note 7                   Samsung Electronics
Samsung Galaxy A8 (2016)                Samsung Electronics
Samsung Galaxy C9 Pro                   Samsung Electronics
Samsung Galaxy A3 (2017)/A5 (2017)/A7
                                        Samsung Electronics
(2017)
Samsung Galaxy Xcover 4                 Samsung Electronics
Samsung Galaxy S8/+                     Samsung Electronics
Samsung Galaxy Note FE                  Samsung Electronics
Samsung Galaxy Note 8                   Samsung Electronics
Samsung Galaxy C8                       Samsung Electronics
Samsung Galaxy C5                       Samsung Electronics
Samsung Galaxy A8 (2018)/+              Samsung Electronics
Samsung Galaxy S9/+                     Samsung Electronics
Samsung Galaxy A6/+                     Samsung Electronics
Samsung Galaxy A8 Star                  Samsung Electronics
Samsung Galaxy Note 9                   Samsung Electronics
Samsung Galaxy A7 (2018)                Samsung Electronics
Samsung Galaxy A9 (2018)                Samsung Electronics
Samsung Galaxy A6s                      Samsung Electronics
Samsung Galaxy A8s                      Samsung Electronics
Samsung Galaxy A10                      Samsung Electronics
Samsung Galaxy A30                      Samsung Electronics
Samsung Galaxy A50                      Samsung Electronics
Samsung Galaxy S10/e/+                  Samsung Electronics
Samsung Galaxy S10 5G                   Samsung Electronics
Samsung Galaxy A20/A40                  Samsung Electronics
Samsung Galaxy A2 Core                  Samsung Electronics
Samsung Galaxy A20e                     Samsung Electronics
Samsung Galaxy A70                      Samsung Electronics
Samsung Galaxy A80                      Samsung Electronics
Samsung Galaxy A60                      Samsung Electronics
Samsung Galaxy Xcover 4s                Samsung Electronics
Samsung Galaxy A10e                     Samsung Electronics
Samsung Galaxy Note 10/+                Samsung Electronics
Samsung Galaxy A10s                     Samsung Electronics
Samsung Galaxy A30s/A50s                Samsung Electronics
Samsung Galaxy A90 5G                   Samsung Electronics
Samsung Galaxy A70s                     Samsung Electronics
Samsung Galaxy Z Fold                   Samsung Electronics
Samsung Galaxy A20s                     Samsung Electronics
Samsung Galaxy A51/A71                  Samsung Electronics
Samsung Galaxy A01                      Samsung Electronics
Samsung Galaxy Xcover Pro               Samsung Electronics
Samsung Galaxy Z Flip                   Samsung Electronics
Samsung Galaxy S20/+/Ultra              Samsung Electronics
Samsung Galaxy Xcover FieldPro          Samsung Electronics
Samsung Galaxy A31                      Samsung Electronics
Samsung Galaxy A11                      Samsung Electronics
Samsung Galaxy A41                      Samsung Electronics
Samsung Galaxy A51 5G/A71 5G            Samsung Electronics
Samsung Galaxy A21                      Samsung Electronics
Samsung Galaxy A21s                     Samsung Electronics
Samsung Galaxy A71 5G UW                Samsung Electronics
Samsung Galaxy Z Flip 5G                Samsung Electronics
Samsung Galaxy Note 20/Ultra            Samsung Electronics
Samsung Galaxy Z Fold 2                 Samsung Electronics
Samsung Galaxy A01 Core                 Samsung Electronics
Samsung Galaxy A51 5G UW                Samsung Electronics
Samsung Galaxy A42 5G                   Samsung Electronics
Samsung Galaxy S20 FE                   Samsung Electronics
Samsung Galaxy F41                      Samsung Electronics
Samsung Galaxy M21s                     Samsung Electronics
Samsung Galaxy A12                      Samsung Electronics
Samsung Galaxy A02s/M02s                Samsung Electronics
Samsung Galaxy A32 5G                   Samsung Electronics




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Samsung Galaxy S21                 Samsung Electronics
Samsung Galaxy S21+                Samsung Electronics
Samsung Galaxy S21 Ultra           Samsung Electronics
Samsung Galaxy A02                 Samsung Electronics
Samsung Galaxy M02                 Samsung Electronics
Samsung Galaxy M12                 Samsung Electronics
Samsung Galaxy F62                 Samsung Electronics
Samsung Galaxy M62                 Samsung Electronics
Samsung Galaxy A32                 Samsung Electronics
Samsung Galaxy Xcover 5            Samsung Electronics
Samsung Galaxy A52/A52 5G          Samsung Electronics
Samsung Galaxy A72                 Samsung Electronics
Samsung Galaxy F02s                Samsung Electronics
Samsung Galaxy F12                 Samsung Electronics
Samsung Galaxy Quantum 2           Samsung Electronics
Samsung Galaxy F52 5G              Samsung Electronics
Samsung Galaxy M32                 Samsung Electronics
Samsung Galaxy A22/A22 5G          Samsung Electronics
Samsung Galaxy Z Fold 3/Z Flip 3   Samsung Electronics
Samsung Galaxy M52 5G              Samsung Electronics
Google Nexus 10                    Samsung Electronics
Ativ Tab                           Samsung Electronics
Ativ Tab 3                         Samsung Electronics
Ativ Tab 5                         Samsung Electronics
Ativ Tab 7                         Samsung Electronics
Galaxy Note                        Samsung Electronics
Galaxy Tab 7.0 Plus                Samsung Electronics
Galaxy Tab 7.7                     Samsung Electronics
Galaxy Tab 8.9                     Samsung Electronics
Galaxy Tab 10.1                    Samsung Electronics
Galaxy Tab 10.1v                   Samsung Electronics
Galaxy Note 8.0                    Samsung Electronics
Galaxy Tab 2 10.1                  Samsung Electronics
Galaxy Note 10.1                   Samsung Electronics
Galaxy Tab 2 7.0                   Samsung Electronics
Galaxy Tab 3 7.0                   Samsung Electronics
Galaxy Tab 3 8.0                   Samsung Electronics
Galaxy Tab 3 10.1                  Samsung Electronics
Galaxy Note 10.1 2014 Edition      Samsung Electronics
Galaxy Note Pro 12.2               Samsung Electronics
Galaxy Note 3                      Samsung Electronics
Galaxy Tab Pro 12.2                Samsung Electronics
Galaxy Tab 4 10.1                  Samsung Electronics
Galaxy Tab A 9.7                   Samsung Electronics
Galaxy TabPro S                    Samsung Electronics
Galaxy Tab S 8.4                   Samsung Electronics
Series 5                           Samsung Electronics
Series 5 550                       Samsung Electronics
Series 3                           Samsung Electronics
Chromebook (all versions)          Samsung Electronics
Galaxy Chromebook (all versions)   Samsung Electronics
Ativ (all versions)                Samsung Electronics
Sens (all versions)                Samsung Electronics
Galaxy Book (all versions)         Samsung Electronics
Nexus S                            Samsung Electronics/Google
Galaxy Nexus                       Samsung Electronics/Google
Tablet S                           Sony
Xperia Tablet S                    Sony
Xperia Tablet Z                    Sony
Xperia Tablet Z2                   Sony
Sony Ericsson Xperia X10           Sony Ericsson
Sony Ericsson Xperia X8            Sony Ericsson
Sony Ericsson Xperia Play          Sony Ericsson
Sony Ericsson Xperia pro           Sony Ericsson
Sony Xperia Z                      Sony Mobile
Sony Xperia Z Ultra                Sony Mobile
Sony Xperia Z1                     Sony Mobile
Sony Xperia Z1 Compact             Sony Mobile
Sony Xperia Z2                     Sony Mobile
Sony Xperia Z3/Compact             Sony Mobile
Sony Xperia Z4                     Sony Mobile
Sony Xperia Z5/Compact             Sony Mobile
Sony Xperia Z5 Premium             Sony Mobile
Sony Xperia X/Performance          Sony Mobile
Sony Xperia XA                     Sony Mobile
Sony Xperia XA Ultra               Sony Mobile
Sony Xperia X Compact              Sony Mobile
Sony Xperia XZ                     Sony Mobile




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Sony Xperia XZs/Premium      Sony Mobile
Sony Xperia XA1              Sony Mobile
Sony Xperia XA1 Ultra        Sony Mobile
Sony Xperia L1               Sony Mobile
Sony Xperia XZ1/Compact      Sony Mobile
Sony Xperia XA1 Plus         Sony Mobile
Sony Xperia L2               Sony Mobile
Sony Xperia XA2/Ultra        Sony Mobile
Sony Xperia XZ2/Compact      Sony Mobile
Sony Xperia XZ2 Premium      Sony Mobile
Sony Xperia XZ3              Sony Mobile
Sony Xperia XA2 Plus         Sony Mobile
Sony Xperia 10/10 Plus       Sony Mobile
Sony Xperia L3               Sony Mobile
Sony Xperia 1                Sony Mobile
Sony Xperia 5                Sony Mobile
Sony Xperia 8                Sony Mobile
Sony Xperia L4               Sony Mobile
Sony Xperia 1 II             Sony Mobile
Sony Xperia 10 II            Sony Mobile
Sony Xperia 5 II             Sony Mobile
Sony Xperia Pro              Sony Mobile
Sony Xperia 10 III           Sony Mobile
Sony Xperia 5 III            Sony Mobile
Sony Xperia 1 III            Sony Mobile
TCL Plex                     TCL
TCL 10L                      TCL
TCL 10 Pro                   TCL
TCL 10 SE                    TCL
TCL 10 5G                    TCL
TCL 10 Plus                  TCL
M20 4G                       Teclast
Tecno Phantom 6/Plus         Tecno Mobile
Tecno Camon CX               Tecno Mobile
Tecno Camon CX Air           Tecno Mobile
Tecno Spark                  Tecno Mobile
Tecno Spark Plus             Tecno Mobile
Tecno Phantom 8              Tecno Mobile
Tecno Spark Pro              Tecno Mobile
Tecno Camon CM               Tecno Mobile
Tecno Spark CM               Tecno Mobile
Tecno Camon X/Pro            Tecno Mobile
Tecno Spark 2                Tecno Mobile
Tecno Camon 11/Pro           Tecno Mobile
Tecno Camon iACE2/2X         Tecno Mobile
Tecno Spark 3/Pro            Tecno Mobile
Tecno Phantom 9              Tecno Mobile
Tecno Spark Go               Tecno Mobile
Tecno Spark 4/Air/Lite       Tecno Mobile
Tecno Camon 12               Tecno Mobile
Tecno Camon 12 Pro           Tecno Mobile
Tecno Camon 12 Air           Tecno Mobile
Tecno Camon 15/Pro           Tecno Mobile
Tecno Camon 15 Air/Premier   Tecno Mobile
Tecno Spark 5                Tecno Mobile
Tecno Spark 5 Air            Tecno Mobile
Tecno Spark 5 Pro            Tecno Mobile
Tecno Spark Power 2          Tecno Mobile
Tecno Pouvoir 4/Pro          Tecno Mobile
Tecno Camon 16 Premier       Tecno Mobile
Tecno Spark 6 Air            Tecno Mobile
Tecno Spark 6                Tecno Mobile
Tecno Camon 16               Tecno Mobile
Tecno Pova                   Tecno Mobile
T‐Mobile G1                  T‐Mobile
Excite                       Toshiba
Thrive                       Toshiba
Thrive 7                     Toshiba
Jupiter IO 3                 Vaporcade
ViewPad 7X                   Viewsonic
ViewPad 10                   Viewsonic
Vivo X1                      Vivo
Vivo X3                      Vivo
Vivo X3S                     Vivo
Vivo X5/Max                  Vivo
Vivo X5Max+                  Vivo
Vivo X5Pro                   Vivo
Vivo X5Max Platinum          Vivo




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Vivo V1                  Vivo
Vivo V1 Max              Vivo
Vivo X6/Plus             Vivo
Vivo X6S/Plus            Vivo
Vivo V3/Max              Vivo
Vivo X7/Plus             Vivo
Vivo X9/Plus             Vivo
Vivo V5                  Vivo
Vivo V5 Plus             Vivo
Vivo V5 Lite/Y66         Vivo
Vivo V5s                 Vivo
Vivo X9s/Plus            Vivo
Vivo V7+                 Vivo
Vivo X20/Plus            Vivo
Vivo V7                  Vivo
Vivo X20 Plus UD         Vivo
Vivo X21/UD              Vivo
Vivo V9/Youth            Vivo
Vivo X21i                Vivo
Vivo NEX                 Vivo
Vivo V11                 Vivo
Vivo X23                 Vivo
Vivo V11i                Vivo
Vivo NEX Dual Display    Vivo
Vivo V15/Pro             Vivo
Vivo X27/Pro             Vivo
Vivo V17 Neo             Vivo
Vivo NEX 3               Vivo
Vivo V17 Pro             Vivo
Vivo V17                 Vivo
Vivo X30/Pro             Vivo
Vivo NEX 3S              Vivo
Vivo V19                 Vivo
Vivo X50 Lite            Vivo
Vivo X50/Pro/Pro+        Vivo
Vivo V19 Neo             Vivo
Vivo V20 Pro             Vivo
Vivo X50e                Vivo
Vivo V20 SE              Vivo
Vivo V20                 Vivo
Vivo X51                 Vivo
Vivo V20 (2021)          Vivo
Vivo X60/Pro/Pro+        Vivo
Cintiq Companion         Wacom
Redmi 1                  Xiaomi
Redmi 1S                 Xiaomi
Redmi Note (3G)          Xiaomi
Redmi Note 4G            Xiaomi
Redmi Note Prime         Xiaomi
Redmi 2                  Xiaomi
Redmi 2A                 Xiaomi
Redmi 2 Prime            Xiaomi
Redmi Note 2             Xiaomi
Redmi 2 Pro              Xiaomi
Redmi Note 3 (MTK)       Xiaomi
Redmi 3                  Xiaomi
Redmi Note 3/Pro         Xiaomi
Redmi 3 Pro              Xiaomi
Redmi 3S                 Xiaomi
Redmi 3X                 Xiaomi
Redmi 3S Prime           Xiaomi
Redmi Pro                Xiaomi
Redmi Note 4 (MTK)       Xiaomi
Redmi 4/Pro/Prime        Xiaomi
Redmi 4A                 Xiaomi
Redmi Note 4/4X          Xiaomi
Redmi 4X                 Xiaomi
Redmi Note 5A/Prime      Xiaomi
Redmi 5A                 Xiaomi
Redmi 5/5 Plus           Xiaomi
Redmi Note 5 Pro         Xiaomi
Redmi Note 5             Xiaomi
Redmi S2/Y2              Xiaomi
Redmi 6/6A/6 Pro         Xiaomi
Redmi Note 6 Pro         Xiaomi
Redmi Note 7             Xiaomi
Redmi Go                 Xiaomi
Redmi Note 7 Pro         Xiaomi




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Redmi 7                               Xiaomi
Redmi Y3                              Xiaomi
Redmi 7A                              Xiaomi
Redmi K20/Pro                         Xiaomi
Redmi Note 8/Pro                      Xiaomi
Redmi 8A                              Xiaomi
Redmi 8                               Xiaomi
Redmi Note 8T                         Xiaomi
Redmi K30/5G                          Xiaomi
Redmi 8A Dual                         Xiaomi
Redmi Note 9 Pro (India)/Pro Max/9S   Xiaomi
Redmi K30 Pro/Pro Zoom                Xiaomi
Redmi Note 9/Pro (Global)             Xiaomi
Redmi 10X/Pro                         Xiaomi
Redmi 9                               Xiaomi
Redmi 9A                              Xiaomi
Redmi 9C                              Xiaomi
Redmi 9 Prime                         Xiaomi
Redmi K30 Ultra                       Xiaomi
Redmi K30S                            Xiaomi
Redmi Note 9 4G/5G/Pro 5G             Xiaomi
Redmi 9 Power                         Xiaomi
Redmi 9T/Note 9T                      Xiaomi
Redmi K40/Pro/Pro+                    Xiaomi
Redmi Note 10/Pro/Pro Max             Xiaomi
Redmi Note 10S/5G                     Xiaomi
Redmi K40 Gaming                      Xiaomi
Redmi Note 8 2021                     Xiaomi
Redmi Note 10 Pro 5G                  Xiaomi
Redmi Note 10T                        Xiaomi
Redmi Note 10 JE                      Xiaomi
Redmi 10                              Xiaomi
Redmi 10 Prime                        Xiaomi
Redmi 9 Activ                         Xiaomi
Redmi 9A Sport/9i Sport               Xiaomi
Redmi Note 10 Lite                    Xiaomi
Redmi Note 11 5G/Pro/Pro+             Xiaomi
Redmi Note 11 4G                      Xiaomi
Redmi Note 11T                        Xiaomi
Xiaomi Mi 1                           Xiaomi
Xiaomi Mi 1S                          Xiaomi
Xiaomi Mi 2                           Xiaomi
Xiaomi Mi 2S/A                        Xiaomi
Xiaomi Mi 3/TD                        Xiaomi
Xiaomi Mi 4                           Xiaomi
Xiaomi Mi Note                        Xiaomi
Xiaomi Mi Note Pro                    Xiaomi
Xiaomi Mi 4i                          Xiaomi
Xiaomi Mi 4c                          Xiaomi
Xiaomi Mi 4S                          Xiaomi
Xiaomi Mi 5                           Xiaomi
Xiaomi Mi Max/Pro                     Xiaomi
Xiaomi Mi 5s/Plus                     Xiaomi
Xiaomi Mi Note 2                      Xiaomi
Xiaomi Mi MIX                         Xiaomi
Xiaomi Mi 5c                          Xiaomi
Xiaomi Mi 6                           Xiaomi
Xiaomi Mi Max 2                       Xiaomi
Xiaomi Mi 5X/Mi A1                    Xiaomi
Xiaomi Mi Note 3                      Xiaomi
Xiaomi Mi MIX 2                       Xiaomi
Xiaomi Mi MIX 2S                      Xiaomi
Xiaomi Mi 6X/Mi A2                    Xiaomi
Xiaomi Black Shark                    Xiaomi
Xiaomi Mi 8/SE/EE                     Xiaomi
Xiaomi Mi Max 3                       Xiaomi
Xiaomi Pocophone F1                   Xiaomi
Xiaomi Mi 8 Pro/Lite                  Xiaomi
Xiaomi Mi MIX 3                       Xiaomi
Xiaomi Black Shark Helo               Xiaomi
Xiaomi Mi Play                        Xiaomi
Xiaomi Mi 9/SE                        Xiaomi
Xiaomi Black Shark 2                  Xiaomi
Xiaomi Mi MIX 3 5G                    Xiaomi
Xiaomi Mi 9T                          Xiaomi
Xiaomi Mi A3                          Xiaomi
Xiaomi Mi 9T Pro                      Xiaomi
Xiaomi Black Shark 2 Pro              Xiaomi




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Xiaomi Mi 9 Lite             Xiaomi
Xiaomi Mi 9 Pro/Pro 5G       Xiaomi
Xiaomi Mi Note 10/Pro        Xiaomi
POCO X2                      Xiaomi
Xiaomi Mi 10/Pro             Xiaomi
Xiaomi Black Shark 3/Pro     Xiaomi
Xiaomi Mi 10 Lite            Xiaomi
Xiaomi Mi 10 Youth           Xiaomi
Xiaomi Mi Note 10 Lite       Xiaomi
POCO M2 Pro                  Xiaomi
Xiaomi Mi 10 Ultra           Xiaomi
POCO X3 NFC                  Xiaomi
POCO M2                      Xiaomi
POCO X3                      Xiaomi
Xiaomi Mi 10T/Pro/Lite       Xiaomi
POCO C3                      Xiaomi
POCO M3                      Xiaomi
Xiaomi Mi 11                 Xiaomi
Xiaomi Mi 10i                Xiaomi
Xiaomi Mi 10S                Xiaomi
POCO X3 Pro                  Xiaomi
POCO F3                      Xiaomi
Xiaomi Black Shark 4/Pro     Xiaomi
Xiaomi Mi 11 Pro/Ultra/11i   Xiaomi
Xiaomi Mi 11 Lite/Lite 5G    Xiaomi
Xiaomi Mi MIX Fold           Xiaomi
POCO M2 Reloaded             Xiaomi
Xiaomi Mi 11X/Pro            Xiaomi
POCO M3 Pro                  Xiaomi
POCO F3 GT                   Xiaomi
POCO X3 GT                   Xiaomi
Xiaomi MIX 4                 Xiaomi
Xiaomi 11T/Pro               Xiaomi
Xiaomi 11 Lite 5G NE         Xiaomi
Xiaomi 12/Pro/X              Xiaomi
Xiaomi 11i/HyperCharge       Xiaomi
YotaPhone                    Yota
YotaPhone 2                  Yota
Nubia Z5                     ZTE
Nubia Z5S                    ZTE
Nubia Z5S mini NX403A        ZTE
Nubia X6                     ZTE
Nubia Z7/Max/mini            ZTE
Nubia Z5S mini NX405H        ZTE
Nubia Z9 Max                 ZTE
Nubia Z9 mini                ZTE
Nubia Z9                     ZTE
Nubia My Prague              ZTE
Nubia Prague S               ZTE
Nubia Z11 mini               ZTE
Nubia Z11 Max                ZTE
Nubia Z11                    ZTE
Nubia N1                     ZTE
Nubia Z11 mini S             ZTE
Nubia M2/lite                ZTE
Nubia N2                     ZTE
Nubia N1 lite                ZTE
Nubia Z17 mini               ZTE
Nubia Z17                    ZTE
Nubia Z17 lite               ZTE
Nubia Z17 miniS              ZTE
Nubia Z17s                   ZTE
Nubia N3                     ZTE
Nubia V18                    ZTE
Nubia Z18 mini               ZTE
Nubia Red Magic              ZTE
Nubia Z18                    ZTE
Nubia X                      ZTE
Nubia Red Magic Mars         ZTE
Nubia Red Magic 3            ZTE
Nubia Z20                    ZTE
Nubia Red Magic 3s           ZTE
Nubia Red Magic 5G           ZTE
Nubia Play                   ZTE
Nubia Red Magic 5G Lite      ZTE
Nubia Red Magic 5S           ZTE
Nubia Red Magic 6/Pro        ZTE
ZTE Racer                    ZTE




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ZTE Blade                ZTE
ZTE Libra                ZTE
ZTE Racer II             ZTE
ZTE Skate                ZTE
ZTE Score                ZTE
ZTE Warp                 ZTE
ZTE Avail                ZTE
ZTE FTV Phone            ZTE
ZTE Blade II V880+       ZTE
ZTE Score M              ZTE
ZTE V880E                ZTE
ZTE Kis V788             ZTE
ZTE Grand X              ZTE
ZTE Grand X IN           ZTE
ZTE Blade III            ZTE
ZTE Grand Era            ZTE
ZTE Warp Sequent         ZTE
ZTE Grand X LTE          ZTE
ZTE Flash                ZTE
ZTE Groove X501          ZTE
ZTE Kis III V790         ZTE
ZTE N910                 ZTE
ZTE Era                  ZTE
ZTE V887                 ZTE
ZTE V889M                ZTE
ZTE Avid 4G              ZTE
ZTE Grand S              ZTE
ZTE Director             ZTE
ZTE Blade C V807         ZTE
ZTE Blade III Pro        ZTE
ZTE Blade G V880G        ZTE
ZTE Blade G2             ZTE
ZTE Blade V              ZTE
ZTE Blade Q/Maxi/Mini    ZTE
ZTE Blade L2             ZTE
ZTE Blade Vec 3G/4G      ZTE
ZTE Blade S6             ZTE
ZTE Blade G/Lux          ZTE
ZTE Blade L3             ZTE
ZTE Blade L3 Plus        ZTE
ZTE Blade S6 Plus        ZTE
ZTE Blade Qlux 4G        ZTE
ZTE Blade Q Pro          ZTE
ZTE Blade Apex 3         ZTE
ZTE Blade A410           ZTE
ZTE Blade A460           ZTE
ZTE Axon Pro/Lux         ZTE
ZTE Blade D6             ZTE
ZTE Axon Elite           ZTE
ZTE Axon mini            ZTE
ZTE Blade S7             ZTE
ZTE Axon                 ZTE
ZTE Blade X3/5/9         ZTE
ZTE Axon Max             ZTE
ZTE Blade V7/Lite        ZTE
ZTE Axon 7               ZTE
ZTE Axon 7 mini          ZTE
ZTE Axon 7 Max           ZTE
ZTE Axon 7s              ZTE
ZTE Maven 2              ZTE
ZTE Blade A6             ZTE
ZTE Axon M               ZTE
ZTE Blade X              ZTE
ZTE Blade A3             ZTE
ZTE Tempo Go             ZTE
ZTE Blade V9/Vita        ZTE
ZTE Axon 9 Pro           ZTE
ZTE Blade A7 Vita        ZTE
ZTE Blade V10/Vita       ZTE
ZTE Axon 10 Pro/5G       ZTE
ZTE Blade L8             ZTE
ZTE Blade A3 (2019)      ZTE
ZTE Blade A7             ZTE
ZTE Blade A5 (2019)      ZTE
ZTE Blade A20            ZTE
ZTE Blade 10 Prime       ZTE
ZTE Blade A7 Prime       ZTE
ZTE Blade Max View       ZTE




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ZTE Axon 10s Pro 5G      ZTE
ZTE Axon 11 4G/5G        ZTE
ZTE Blade V 2020         ZTE
ZTE Axon 11 SE 5G        ZTE
ZTE Axon 20 5G           ZTE
ZTE Blade A7s 2020       ZTE
ZTE Blade 20 5G          ZTE
ZTE Axon 20 4G           ZTE
ZTE S30/Pro/SE           ZTE
ZTE Axon 30 Pro/Ultra    ZTE
ZTE Blade 11 Prime       ZTE
ZTE Blade A51            ZTE
ZTE Blade A31            ZTE
ZTE Axon 30              ZTE
ZTE Blade A71            ZTE
ZTE Blade L9             ZTE
ZTE Blade A31 Plus       ZTE
ZTE Voyage 20 Pro        ZTE




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